Case 1:24-cv-00496-JAO-WRP   Document 35-5   Filed 12/23/24   Page 1 of 76
                              PageID.615




      EXHIBIT 4
 Case 1:24-cv-00496-JAO-WRP   Document 35-5   Filed 12/23/24   Page 2 of 76
                               PageID.616


                     IN THE UNITED STATES DISTRICT
                   COURT FOR THE DISTRICT OF HAWAII

ELIJAH PINALES, et al.,               :
                                          Civil No. 24-00496 JAO-WRP
                                      :
     Plaintiffs,                      :
                                      :
                                          DECLARATION OF
            v.                        :
                                          ELIZABETH E. CAUFFMAN
                                      :
ANNE E. LOPEZ, IN HER OFFICIAL        :
CAPACITY AS THE ATTORNEY              :
GENERAL OF THE STATE OF               :
HAWAI‘I,                              :
                                      :
     Defendant.                       :
                                      :
                                      :


            DECLARATION OF ELIZABETH E. CAUFFMAN
  Case 1:24-cv-00496-JAO-WRP        Document 35-5      Filed 12/23/24   Page 3 of 76
                                     PageID.617



 EXPERT DECLARATION OF PROFESSOR ELIZABETH E. CAUFFMAN
     I, Elizabeth E. Cauffman, declare that the following is true and correct:
The Attorney General of the State of Hawai‘i requested that I provide an expert
opinion on neurobiological and psychological development during late adolescence
(i.e., among individuals between the ages of 18-20), the ways in which
neurobiological immaturity impacts behavior and psychosocial development during
this period, and the basis for and evolution of the understanding of ongoing
behavioral development during these late adolescent years. I was also asked to
provide an expert opinion about the implications these scientific facts have for the
appropriateness and necessity of regulations in Hawai‘i that restrict the acquisition
and possession of firearms and ammunition by individuals under age 21 to reduce
gun violence.
     This declaration is based on my review of the scientific literature, and if I am
called to testify as a witness, I could and would testify competently to the truth of
the matters discussed in this declaration.
                  BACKGROUND AND QUALIFICATIONS
     1.     I am a Professor in the Department of Psychological Science at the
University of California, Irvine (UCI) and hold courtesy appointments in the
Department of Criminology, Law & Society, the School of Education, and the
School of Law. I am the Director of the on-line Masters in Legal & Forensic
Psychology program at UCI and also direct the Center for Psychology & Law at
UCI. A copy of my curriculum vitae is attached as Exhibit A.
      2.     My educational background includes a Bachelor of Arts in Psychology
from the University of California, Davis and a Ph.D. in Developmental Psychology
with a specialization in adolescent development from Temple University. In
addition, I completed a post-doctoral fellowship at the Center on Adolescence at
Stanford University.


                                                 1
  Case 1:24-cv-00496-JAO-WRP         Document 35-5    Filed 12/23/24   Page 4 of 76
                                      PageID.618

      3.       I have served as a member of the MacArthur Foundation’s Research
Network on Adolescent Development and Juvenile Justice as well as the National
Academies of Sciences, Engineering, and Medicine’s Committee on the
Neurobiological and Socio-behavioral Science of Adolescent Development and Its
Applications. Also, twice a year, I conduct trainings on adolescent development to
all juvenile court judges in California at the National Judicial College. I am the
past President of the Society for Research on Adolescence (the national
organization for all adolescent researchers in the country).
      4.       Findings from my research (and the research I will present below)
were incorporated into the American Psychological Association’s amicus briefs
submitted to the U.S. Supreme Court in Roper v. Simmons (2005), which abolished
the juvenile death penalty, and in both Graham v. Florida (2010) and Miller v.
Alabama (2012), which placed limits on the use of life without parole as a sentence
for juveniles.
      5.       At the broadest level, my research addresses the intersection between
adolescent development and juvenile justice. I have published over 175 articles,
chapters, and books on the study of contemporary adolescence, including
adolescent brain development, risk-taking and decision-making, and juvenile
justice. In addition, I have received over $37 million dollars in funding from both
the Federal government (e.g., National Institute of Mental Health, Office of
Juvenile Justice and Delinquency Prevention, National Institute of Justice), private
foundations (e.g., William T. Grant Foundation, John D. & Catherine T. MacArthur
Foundation), and county agencies (Orange County Health Care Agency) to conduct
my research.
      6.       I have served as a consultant on numerous cases and have testified as
an expert witness in court over 80 times. My testimony typically pertains to the
sentencing phase of the defendant; however, several cases have involved the guilt
phase or whether the youth was competent to stand trial. In addition, I have also


                                                 2
 Case 1:24-cv-00496-JAO-WRP          Document 35-5     Filed 12/23/24    Page 5 of 76
                                      PageID.619

served as an expert witness on the issue of transferring juveniles to adult court as
well as the re-sentencing of juveniles who have received life without the possibility
of parole.

                      RETENTION AND COMPENSATION
      7.      I am being compensated for services performed in the above-entitled
case at a rate of $450/hour for record review and consultation, document
preparation, and deposition and testimony. I will also be compensated for travel
time and expenses. My compensation is not in any way dependent on the outcome
of this or any related proceeding, or on the substance of my opinion.

             BASIS FOR OPINION AND MATERIALS CONSIDERED
      8.      Counsel for Defendant provided me with the operative complaint in
this matter, Plaintiffs’ Memorandum in Support of Motion for Preliminary
Injunction, and the Hawai‘i statutory provision that Plaintiffs challenge. Otherwise,
my report is based on my independent research.
      9.      In my report, I cite to a variety of scholarly articles, laws, cases, and
various other related materials on which I based my opinions.
                           SUMMARY OF OPINIONS
     10.     Developmental science demonstrates that important neurobiological
development is ongoing throughout the teenage years and continuing into the mid-
20s. As a result of neurobiological immaturity, adolescents continue to
demonstrate difficulties in exercising self-restraint, controlling impulses,
considering future consequences, and resisting the coercive influence of others.
Heightened susceptibility to emotionally laden and socially charged situations
renders adolescents more vulnerable to the influence of others, and in such
situations adolescents are even less able to consider and weigh the risks and
consequences of a chosen course of action.
       11.     It is important to note that age is not synonymous with development
and that science does not identify bright-line boundaries that are often typically


                                                  3
Case 1:24-cv-00496-JAO-WRP            Document 35-5     Filed 12/23/24   Page 6 of 76
                                       PageID.620

observed in the law. For example, while the law may view an 18-year-old as an
adult in many circumstances, developmental science shows that psychosocial
maturation is still developing during this time. Below I provide research that
highlights how, in emotionally laden situations, the decision-making and judgment
of individuals aged 18 to 20 are often more similar to the decision-making and
judgment of those aged 14 to 17, rather than that of adults in their mid-20s.
       12.       Thus, a bright-line boundary at 18 is not consistent with the scientific
evidence of adolescent brain and psychological development. Based on this
research, it is my opinion that imposing additional restrictions on the possession
and acquisition of firearms and ammunition by young adults aged 18-20, beyond
those applicable to purchasers 21 and older, is appropriate.
                                        OPINIONS
I.     DEVELOPMENT & RISK TAKING CONTINUE AFTER AGE 18
       13.       Adolescence is a unique stage of human development. It is commonly
defined as beginning at age 10 or 11 and continuing until the mid-20s. As such,
scientists who study adolescence differentiate among early adolescence (ages 10 to
13), middle adolescence (ages 14 to 17), and late adolescence (ages 18 to 25).1
       14.       In addition, adolescence has long been regarded as a period of poor
decision-making and impulsive behavior. This account of adolescence is reinforced
by empirical data surveying a range of behaviors, such as illicit drug use,2 reckless




             1
              Arnett, J. (2000). Emerging adulthood: A theory of development from the
     late teens through the twenties. American Psychologist, 55, 469-480; Kagan, J. &
     Coles, R. (Eds.). (1972). Twelve to sixteen: Early adolescence. New York:
     Norton; Keniston, K. (1970). Youth: A “new” stage of life. American Scholar, 39,
     631-641, 1970.
            2
              Monitoring the Future. (2009). Trends in lifetime prevalence of use of
     various drugs. University of Michigan. Retrieved from
     http://monitoringthefuture.org/data/09data/pr09t1.pdf.


                                                  4
Case 1:24-cv-00496-JAO-WRP         Document 35-5   Filed 12/23/24   Page 7 of 76
                                    PageID.621

driving,3 unsafe sex,4 and criminal activity.5 The pattern observed across these
diverse studies is one in which risky behavior becomes increasingly common
during adolescence, peaks in late adolescence, and then declines. This pattern is
often referred to as the age-crime curve.6


FIGURE 1: Age-Crime Curve based on FBI Uniform Crime Reports




      15.       When combined with more fine-grained studies showing specifically
how susceptibility to peer pressure, impulsivity, risk-taking, and short-term
thinking does not subside until later in young adulthood, it becomes impossible to
reconcile the argument that 18 years old is a sensible age at which to expect people

            3
            Chen, L. H., Baker, S. P., Braver, E. R., & Li, G. (2000). Carrying
   passengers as a risk factor for crashes fatal to 16-and 17-year-old drivers. Journal
   of the American Medical Association, 283(12), 1578–1582; National Highway
   Traffic Safety Administration. (2007). Comparison analysis of fatality trend by age
   group – 1996 to 2005. Retrieved from
   http://wwwnrd.nhtsa.dot.gov/Pubs/810759.pdf.
          4
            Finer, L. B. (2010). Unintended pregnancy among U.S. adolescents:
   Accounting for sexual activity. Journal of Adolescent Health, 47(3), 312–314.
          5
            Piquero, A. R. (2008). Taking stock of developmental trajectories of
   criminal activity over the life course. The long view of crime: A synthesis of
   longitudinal research, 23–78; Stolzenberg, L., & D’Alessio, S. J. (2008). Co-
   offending and the age-crime curve. Journal of Research in Crime and Delinquency,
   45(1), 65–86.
          6
            See Figure 1; Federal Bureau of Investigation. (2010). Crime in the United
   States, 2010. Retrieved from fbi.gov/about-us/cjis/ucr/crime-in-the-u.s/2010/crime-
   in-the-u.s.-2010.


                                              5
Case 1:24-cv-00496-JAO-WRP             Document 35-5    Filed 12/23/24   Page 8 of 76
                                        PageID.622

to “know better” and to be “responsible” with the observation that these indicators
of impulsive, reckless, self-destructive, and antisocial tendencies peak at precisely
this point.
        16.        For example, in a study of over 1,000 participants ranging in age from
12 to 48 years, impulsivity declined, the ability to think long term increased, and
individuals became more responsible as they transitioned out of adolescence and
into adulthood.7 In another study comparing adolescent and adult decision-making,
results indicated that, when asked to evaluate hypothetical decisions, adolescents as
old as 18 years of age were less likely than adults to mention possible long-term
consequences, to evaluate both risks and benefits, and to examine possible
alternative options.8 Furthermore, a study involving a gambling task with more
than 900 individuals aged 10 to 30 found that late adolescents focus more on the
potential rewards of a risky decision than on the potential costs, whereas adults tend
to consider both.9
        17.        These empirical studies confirm that adolescents—even late
adolescents in the 18-20-year-old age range—have not fully developed this
psychosocial ability to self-regulate, which may account for their poor or risky
decision-making and lack of judgment under certain circumstances.
II.      CONTINUED BRAIN DEVELOPMENT UNTIL AGE 25 ACCOUNTS FOR
         PSYCHOLOGICAL IMMATURITY THROUGH ADOLESCENCE

         18.       What accounts for these differences between adolescents, including
those in the transitional period between adolescence and adulthood, and adults with


               7
               Cauffman, E., Shulman, E., Steinberg, L., Claus, E., Banich, M., Woolard,
      J., & Graham, S. (2010). Age differences in sensitivity to the rewards and costs of
      a risky decision as indexed by performance on the Iowa gambling
      task. Developmental Psychology, 46, 193-207.
             8
               Halpern-Felsher, B. & Cauffman, E. (2001). Costs and benefits of a
      decision: Decision-making competence in adolescents and adults. Journal of
      Applied Developmental Psychology, 22, 257-273.
             9
               Cauffman, et al., supra note 7.


                                                   6
Case 1:24-cv-00496-JAO-WRP       Document 35-5     Filed 12/23/24   Page 9 of 76
                                  PageID.623

respect to risk-taking, planning, inhibiting impulses, and generating as well as
evaluating alternatives? Research within the past 15 years demonstrates a
biological dimension to adolescent behavioral immaturity: the human brain does
not reach its mature, adult form until after the adolescent years have passed and a
person has entered young adulthood, which occurs at approximately age 25.10
      19.     These brain changes allow us to understand the difference between
“cold cognition” (i.e., thinking and calculated decision-making under calm or non-
aroused conditions) vs. “hot cognition” (i.e., thinking and decision-making under
emotionally aroused or stressful conditions). These distinctions are important.
When adolescents make decisions under conditions of emotional arousal (i.e., in
negative emotional states, such as when experiencing stress, fear, anger, impulse,
threat, or anxiety, or in positive emotional states, such as when experiencing
exuberance or exhilaration), they are more apt to exercise less self-control and less-
well-reasoned judgment than adults in such emotionally aroused circumstances.
      20.     Although the majority of structural brain development occurs prior to
adolescence, there is considerable refinement within the brain that occurs across
adolescence and through the transitional period—particularly in the area of the
prefrontal cortex, which is among the last to develop.11
      21.     The pre-frontal cortex is like the CEO of a company. It is responsible
for the evaluation of future consequences, the ability to weigh risks and rewards,




         10
            Gogtay, N., Giedd, J., Lusk, L., Hayashi‡, K., Greenstein, D., Vaituzis, A.
   C., Nugent III, T., Herman, D., Clasen, L., Toga‡, A., Rapoport, J., & Thompson,
   P. (2004). Dynamic Mapping of Human Cortical Development During Childhood
   Through Early Adulthood, Proc. Nat’l Acad. Sci, 101, 8174-8179.
         11
            See Figure 2; Giorgio, A., Watkins, K. E., Chadwick, M., James, S.,
   Winmill, L., Douaud, G., … & James, A. C. (2010). Longitudinal changes in grey
   and white matter during adolescence. NeuroImage, 49(1), 94-103.


                                             7
Case 1:24-cv-00496-JAO-WRP          Document 35-5    Filed 12/23/24   Page 10 of 76
                                     PageID.624

 and general decision-making processes.12 In addition, this region of the brain is
 also essential for controlling emotions and inhibiting impulses.13


 FIGURE 2: The adolescent brain continues to develop until approximately age 25




     22.        This refinement of the pre-frontal cortex is evidenced by brain imaging
 studies that reveal increases in white matter volume14 and density,15 as well as
 decreases in grey matter.16 Specifically, the brain undergoes myelination, the

           12
             Bechara, A., Tranel, D., & Damasio, H. (2000). Characterization of the
   Decision- Making Deficit of Patients with Ventromedial Prefrontal Cortex Lesions,
   Brain, 123, 2189-2202.
          13
             Casey, B., J., Giedd, J. N., & Thomas, K. M., (2000). Structural and
   Functional Brain Development and its Relation to Cognitive Development,
   Biological Psychology, 54, 241-257.
          14
             Giedd, J. N. (2004). Structural magnetic resonance imaging of the
   adolescent brain. Annals of the New York Academy of Sciences, 1021, 77-85.
          15
             Paus, T., Zijedenbos, A., Worsley, K., Collins, D. L., Blumenthal, J.,
   Giedd, J. N., … & Evans, A. C. (1999). Structural maturation of neural pathways in
   children and adolescents: In vivo study. Science, 283, 1908-1911.
          16
             Sowell, E. R., Thompson, P. M., Tessner, K. D., & Toga, A. W. (2001).
   Mapping continued brain growth and gray matter density reduction in dorsal frontal
   cortex: Inverse relationships during post-adolescent brain maturation. The Journal
   of Neuroscience, 21, 8819-8829.


                                                 8
Case 1:24-cv-00496-JAO-WRP          Document 35-5      Filed 12/23/24    Page 11 of 76
                                     PageID.625

 process through which the neural pathways connecting different parts of the brain
 become insulated with white fatty tissue called myelin.17 This insulation makes
 connections between different parts of the brain faster and more reliable and, thus,
 aids in the speed of neural transmission, which is important for the processing of
 emotion and social information.18
        23.     Decreases in grey matter volume are thought to reflect synaptic
 pruning (the systematic elimination of synapses that are not used or are less
 efficient).19 For example, just as a gardener prunes away the unnecessary branches
 of a rose bush to help it grow, the brain prunes away unnecessary synapses so that
 the transfer of neural connections is more efficient. Research finds synaptic
 pruning is not complete during early adolescence, as was once thought, but rather
 continues well into the third decade of life.20
        24.     In short, the part of the brain that is critical for the control of impulses
 and emotions, maturity, and reasoned decision-making is still developing in late
 adolescence, and these important aspects of brain maturation remain incomplete
 until at least age 25.
        25.     In addition, the sensitivity of the brain during adolescence to social
 rewards, such as peer acceptance, is consistently seen across many studies using
 various methodological approaches.21 During puberty, it is thought that gonadal
 hormones affect the activity of oxytocin in socio-emotional brain regions,

           17
              Paus, T. (2010). Growth of white matter in the adolescent brain: Myelin or
    axon? Brain and Cognition, 72, 26-35.
           18
              Sowell et al., supra note 16.
           19
              Luciana, M. (2013). Adolescent brain development in normality and
    psychopathology. Developmental Psychopathology, 25, 1325–1345.
           20
              Petanjek, Z., Judas, M., Simic, G., Rasin, M.R., Uylings, H.B., Rakic, P.,
    & Kostovic, I. (2011). Extraordinary neoteny of synaptic spines in the human
    prefrontal cortex. Proceedings of the National Academy of Science of the United
    States of America, 108 (32), 13281-13286.
           21
              See Sebastian, C., Viding, E. Williams, K. D., & Blakemore, S.-J. (2010).
    Social brain development and the affective consequences of ostracism in
    adolescence. Brain and Cognition, 72, 134-145.


                                                  9
Case 1:24-cv-00496-JAO-WRP          Document 35-5    Filed 12/23/24   Page 12 of 76
                                     PageID.626

specifically the amygdala and the nucleus accumbens.22 Oxytocin plays a crucial
role in social bonding and regulates the recognition of social stimuli.23 This change
in the activity of oxytocin in the socio-emotional system of the brain is thought to
make adolescents respond differently to social stimuli, affecting their subsequent
emotional and behavioral responses.
      26.        With the aid of advanced brain imaging technology and well-validated
behavioral tasks, researchers are pinpointing the conditions under which
adolescents’ decision-making differs from adults’, and illuminating the neurological
developments that may correspond to these age differences.
      27.        Synthesizing data from several lines of work, findings suggest that
increased risk-taking in adolescence results from asynchrony in the development of
one’s psychosocial (e.g., self-regulatory system) and cognitive ability (e.g.,
intellectual ability). While one’s cognitive ability (i.e., the ability to think) reaches
adult levels at approximately age 16, the psychosocial/self-regulatory system and
higher-order cognition (the ability to plan ahead, accurately weigh risks and
rewards, and to evaluate complicated situations) continues to develop at a steady
pace from childhood into adulthood. The maturation of this psychosocial/self-
regulatory system, which involves the prefrontal cortex and its connections with
subcortical regions, is associated with improved impulse-control, harm-avoidance,
and modulation of emotional and behavioral responses.
      28.        In fact, research has shown that by age 16, adolescents’ general
cognitive abilities are essentially indistinguishable from those of adults.
Adolescents’ psychosocial functioning, however, even at the age of 15, is



            22
              Nelson, E. E., Leibenluft, E., McClure, E. B., & Pine, D. S. (2005). The
   social re-orientation of adolescence: A neuroscience perspective on the process and
   its relation to psychopathology. Psychological Medicine, 35, 163-174.
           23
              Insel, T. & Fernald, R. (2004) How the brain processes social information:
   Searching for the social brain. Annual Review of Neuroscience, 27, 697–722.


                                                10
Case 1:24-cv-00496-JAO-WRP          Document 35-5    Filed 12/23/24   Page 13 of 76
                                     PageID.627

 significantly less mature than that of individuals in their mid-20s.24 As such, in
 situations that elicit impulsivity, which are typically characterized by high levels of
 emotional arousal or social coercion, or that do not encourage or permit
 consultation with an expert who is more knowledgeable or experienced,
 adolescents’ decision-making is likely to be less mature than adults’. This remains
 the case even in late adolescence and through the mid-20s.
 FIGURE 3: Differences in the development of the psychosocial and cognitive
 (intellectual) systems




      29.        Research has shown that under negative emotional arousal (i.e., feeling
threatened, stressed, frightened, etc.), teens aged 13-17 and young adults aged 18-

            24
            See Figure 3; Steinberg, L., Cauffman, E., Woolard, J., Graham, S. &
   Banich, M. (2009). Are adolescents less mature than adults? Minors’ access to
   abortion, the juvenile death penalty, and the alleged APA “flip-flop”. American
   Psychologist, 64, 583-594.


                                                11
Case 1:24-cv-00496-JAO-WRP      Document 35-5     Filed 12/23/24   Page 14 of 76
                                 PageID.628
21 perform more impulsively than adults. For example, in a study of the response
to emotional cues (as shown in Figure 4 below), teens’ (ages 13-17—represented in
red), young adults’ (ages 18-21— represented in blue), and adults’ (ages 22-25—
represented in green) emotional state was manipulated from time to time by leading
them to expect that at any moment they might experience something positive
(winning a prize), something negative (hearing a loud noise), or neither. The study
found that when young adults (represented in blue) were negatively aroused, they
made as many mistakes as those in the teens group, and significantly more than the
somewhat older adults. But under conditions of either low or positive arousal, the
young adults performed as well as their older counterparts, and significantly better
than the teens.25 Specifically, adults (who outperformed teens and young adults)
showed greater activation of the dorsolateral prefrontal cortex relative to teens and
young adults. This research suggests that, compared with adults, young adults and
teens show diminished cognitive control under negative emotional arousal.


FIGURE 4 – Negative emotional arousal leads to more impulsive behavior among
teens (13-17) and young adults (18-21)




         25
            See Figure 4; Cohen, A., Breiner, K,, Steinberg, L., Bonnie, R., Scott,
   E.,……Casey, B.J. (2016). When is an adolescent and adult? Assessing cognitive
   control in emotional and nonemotional contexts. Psychological Science, 27, 549-
   562.


                                             12
Case 1:24-cv-00496-JAO-WRP            Document 35-5     Filed 12/23/24   Page 15 of 76
                                       PageID.629




III.   ADOLESCENTS ARE MORE SUSCEPTIBLE TO SOCIAL INFLUENCE AND
       THE BRAIN IS ESPECIALLY SENSITIVE TO SOCIAL INFLUENCE DURING
       ADOLESCENCE
       30.        Peers have a particularly strong effect on adolescents. When in the
presence of peers, adolescents tend to value more immediate rewards over long-
term benefits.26 This bias toward short-term gains while in the presence of peers
may lead adolescents to discount the potential consequences of risky decisions and
tends to explain, to some degree, adolescents’ tendency to engage in risk-taking.
       31.        There is substantial psychological research illustrating this social
influence during adolescence. For example, during a computerized driving task,
adolescents who were randomly assigned to a condition of peer observation were
found to take more risks (i.e., crash the car) than those adolescents who were
assigned to perform the task alone.27 In contrast, adult participants’ risk-taking
during the driving task did not significantly vary by condition.28 Specifically, as
shown in Figure 5 below, exposure to peers doubled the amount of risky behavior
among mid-adolescents (with a mean age of 14), increased it by 50 percent among
college undergraduates (with a mean age of 19), and had no impact at all among
those in their mid-thirties.29




             26
            O’Brien, L., Albert, D., Chein, J., & Steinberg, L. (2011). A peer
   influence on the subjective value of monetary offers in young adults. Journal of
   Research in Adolescence, 21, 747-753.
         27
            Gardner, M. & Steinberg, L. (2005). Peer influence on risk taking, risk
   preference, and risky decision making in adolescence and adulthood: An
   experimental study. Developmental Psychology, 41, 625-635.
         28
            Id.
         29
            See Figure 5; Gardner & Steinberg, supra note 27.


                                                   13
Case 1:24-cv-00496-JAO-WRP          Document 35-5    Filed 12/23/24   Page 16 of 76
                                     PageID.630

FIGURE 5: Risky driving as assessed by number of times car crashes with and
without peers present




      32.         A follow-up study was conducted using functional magnetic resonance
imaging (fMRI) to measure participants’ brain activity during the same driving task
in both a solo condition and a peer-observation condition.30 It is important to note
that in the peer-observation condition, the peer was not with the participant during
the fMRI but rather watching the participant through the glass while the fMRI was
being conducted. Findings indicated that the mere knowledge of a peer
observing—even if the peer was not physically present—increased risk-taking
among adolescents but not adults.
      33.         Notably, when adolescents performed the task under peer-observation
conditions, they demonstrated greater activation of brain regions related to reward
during the decision-making component of the task than was seen in the solo trials;
in contrast, adults’ activation in these brain regions did not vary by social context.31
       30
          Chein, J., Albert, D., O’Brien, L., Uckert, K., & Steinberg, L. (2011).
Peers increase adolescent risk taking by enhancing activity in the brain’s reward
circuitry. Developmental Science, 14, 1-10.
       31
            Id.


                                                14
Case 1:24-cv-00496-JAO-WRP             Document 35-5     Filed 12/23/24   Page 17 of 76
                                        PageID.631

         34.        These and other studies demonstrate that adolescents are more
susceptible than adults to peer pressure and to the influence of others who are in
positions of authority.32 Thus, it is not surprising that adolescents take more risks
when they are in groups, or that teenagers are especially susceptible to pressure
from somewhat older individuals to engage in antisocial activity. Indeed, the late
teens and early 20s are considered the peak age at which individuals engage in risky
decision-making.33
         35. It is important to note that when adolescents performed this task in the
presence of their mother, they engaged in significantly fewer risky driving
behaviors compared to when they were alone34. Brain scans from the study showed
that the presence of the mother also activated the reward centers in the adolescent
brain. Unlike peers, whose presence might encourage risk-taking by heightening
the reward value of risky behaviors, the mother’s presence shifted the adolescent
brain's focus toward valuing safety and caution. This finding suggests that parental
presence influences teens to make safer decisions, perhaps because they feel more
accountable or less inclined to take risks. As such, positive parental engagement
can reinforce safe behaviors and decision-making strategies in high-risk contexts.
IV.     SUBSTANCE USE ALTERS BRAIN DEVELOPMENT AND NORMATIVE
        DEVELOPMENT

        36.         Adolescent substance use is highly prevalent, with recent data
reporting that over 40% of high school seniors have tried marijuana and over half
               32
               Steinberg, L., & Monahan, K. (2007). Age differences in resistance to peer
      influence. Developmental Psychology, 43, 1531-1543.
            33
               Braams, B., van Duijvenvoorde, A., Peper, J., & Crone, E. (2015).
      Longitudinal changes in adolescent risk-taking: A comprehensive study of neural
      responses to rewards, pubertal development and risk taking behavior. Journal of
      Neuroscience, 35, 7226-7238; Shulman, E., & Cauffman, E. (2014). Deciding in
      the dark: Age differences in intuitive risk judgment. Developmental Psychology, 50,
      167-177.
            34
               Telzer, E. H., Ichien, N. T., & Qu, Y. (2015). Mothers know best:
      Redirecting adolescent reward sensitivity toward safe behavior during risk taking.
      Social Cognitive and Affective Neuroscience, 10(10), 1383–1391.


                                                   15
Case 1:24-cv-00496-JAO-WRP         Document 35-5    Filed 12/23/24   Page 18 of 76
                                    PageID.632

have been drunk.35 This behavior is of concern, as research shows that adolescent
substance use may impair psychosocial maturity by affecting the development of
brain structures that regulate behavioral, emotional, and cognitive processes.36
      37.        Adolescent substance use has been shown to impair psychosocial
maturity by affecting the development of brain structures that regulate behavioral,
emotional, and cognitive processes.37 Many of the brain regions that undergo
developmental change during adolescence are also affected by alcohol and drug
use.38 For example, fMRI studies suggest that the prefrontal cortex and sub-cortical
striatal areas, which are actively engaged in decision-making, are affected by
addictive substances.39 Substance use may also affect brain circuits involved in the
experience of reward and self-regulation.40
      38.        For example, research has shown that adolescent substance use leads
to poorer neurocognitive performance, poorer white matter quality, and changes in
brain volume.41 Substance use has also been associated with heightened



            35
             Johnston, L. D., O’Malley, P. M., Bachman, J. G., & Schulenberg, J. E.
   (2008). Monitoring the Future national results on adolescent drug use: Overview of
   key findings, 2007 (NIH Publication No. 08-6418).Bethesda, MD: National
   Institute on Drug Abuse.
          36
             Clark, D.B., Thatcher, D.L., & Tapert, S.F. (2008). Alcohol, psychological
   dysregulation, and adolescent brain development. Alcoholism: Clinical and
   Experimental Research, 32(3), 375-385.
          37
             Clark, D.B., Thatcher, D.L., & Tapert, S.F. (2008). Alcohol, psychological
   dysregulation, and adolescent brain development. Alcoholism: Clinical and
   Experimental Research, 32(3), 375-385.
          38
             Volkow, N., & Li, T.-K. (2005). The neuroscience of addiction. Nature
   Neuroscience, 8(11), 1429-1430.
          39
             Chambers, R.A., Taylor, J.R., & Potenza, M.N. (2003). Developmental
   neurocircuitry of motivation in adolescence: A critical period of addiction
   vulnerability. American Journal of Psychiatry, 160, 1041-1052.
          40
             E.g., Brown, S., & Tapert, S. F. (2004). Adolescence and the trajectory of
   alcohol use: Basic to clinical studies. Annals of the New York Academy of Sciences,
   1021(1), 234–244.
          41
             Squeglia, L., Jacobus, J., & Tapert, S. (2009). The influence of substance
   use on adolescent brain development. Clinical EEG and Neuroscience. 40, 31-38.


                                               16
Case 1:24-cv-00496-JAO-WRP       Document 35-5      Filed 12/23/24   Page 19 of 76
                                  PageID.633

 impulsivity,42 impaired affect regulation,43 poor judgment,44 and less successful
 decision-making.45
       39.     In addition, individuals with substance dependence tend to choose
 small immediate rewards over larger postponed incentives,46 display a reduced
 sensitivity to natural reinforcers, and show decreased inhibitory control.47 These
 findings suggest that substance use may suppress age-typical growth in
 psychosocial maturity from adolescence to young adulthood; however, when youth
 stop using substances they do regain in psychosocial maturity.48
                                    CONCLUSION
       40.     Research shows that important neurobiological development is
 ongoing throughout the adolescent years and continues into the early 20s. As a
 result of neurobiological immaturity, young people, even those over the age of 18,
 continue to demonstrate difficulties in exercising self-restraint, controlling
 impulses, considering future consequences, making decisions independently from
 their peers, and resisting the coercive influence of others. Many of the same
          42
             Colder, C.R., & Chassin, L.C. (1997). Affectivity and impulsivity:
   Temperament risk for adolescent alcohol involvement. Psychology of Addictive
   Behaviors, 11(2), 83-97.
          43
             Cooper, M.L., Agocha, V.B., & Sheldon, M.S. (2000). A motivational
   perspective on risky behaviors: The role of personality and affect regulatory
   processes. Journal of Personality, 68(6), 1059-1088.
          44
             Giancola, P.R., Martin, C.S., & Tarter, R.E. (1996). Executive cognitive
   and aggressive behavior in preadolescent boys at high risk for substance
   abuse/dependence. Journal of Studies on Alcohol, 57, 352-259.
          45
             White, H.R. (1990) The drug use-delinquency connection in adolescence.
   In R. Weisheit (Ed.), Drugs, crime and the criminal justice system, (pp. 215-256).
   Cincinnati, Ohio: Anderson.
          46
             Potenza, M.N. (2007). To do or not to do? The complexities of addiction,
   motivation, self-control and impulsivity. American Journal of Psychiatry, 164, 4-6.
          47
             Volkow, N.D., Fowler, J.S., & Wang, G.J. (2003). The addicted human
   brain viewed in the light of imaging studies: brain circuits and treatment strategies.
   Neuropharmacology, 47, 3-13.
          48
             Chassin, L., Dmitrieva, J., Modecki, K., Steinberg, L., Cauffman, E.,
   Piquero, A., Knight, G., & Losoya, S. (2010). Does adolescent alcohol and
   marijuana use predict suppressed growth in psychosocial maturity? Psychology of
   Addictive Behaviors, 4, 48-60.


                                              17
Case 1:24-cv-00496-JAO-WRP        Document 35-5     Filed 12/23/24   Page 20 of 76
                                   PageID.634

immaturities that characterize the brains of individuals under age 18 are also
characteristic of the brains of individuals between ages 18 and 21, and perhaps even
of individuals in their mid-20s, particularly with respect to the exercise of mature
self-control. Deficiencies in self-control are likely to interfere with safe firearm
usage.
         41.   Findings from developmental sciences should guide our response to
adolescents in terms of their treatment under the law. In situations that are
characterized by “hot cognition” (decisions made under emotional or arousing
situations), it is unclear how to draw a meaningful psychological or neurobiological
distinction between individuals who are nearly 18 years old and those who are at
least 18 but not yet 21. The fact that 18-20-year-olds are still developing and may
act with the immaturity of those under age 18 under certain conditions supports
using age limitations such as the one at issue in this case to address gun violence
perpetrated by this age group.
         42.   Based on the scientific evidence reviewed herein, it is my professional
opinion that the restrictions on the acquisition and possession of firearms by
individuals under 21 under Hawai‘i Revised Statutes §§ 134-2, -4, -5, and -7 are
both appropriate and necessary to promote public safety.


     I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.
          Executed on December 20, 2024 at Irvine, CA




                                                    Elizabeth E. Cauffman, Ph.D.




                                              18
Case 1:24-cv-00496-JAO-WRP    Document 35-5     Filed 12/23/24   Page 21 of 76
                               PageID.635

                          GLOSSARY OF KEY TERMS

    Early adolescence:       Ages 10, 11, 12, and 13.
    Middle adolescence:      Ages 14, 15, 16, and 17.
    Late adolescence:        Ages 18 to 25.
    Neurobiological:         Referring to the brain’s anatomy or functioning.
    Psychosocial:            Referring to emotional and social development (in
                             contrast to cognitive, or intellectual, development).
    Functional Magnetic      A brain imaging method that permits researchers to
                             identify activity in specific brain regions while the
    Resonance Imaging        individual whose brain is being imaged is engaged in a
    (fMRI):                  task chosen by the researcher, such as one requiring
                             impulse control.
    Self-regulation:         Exercising control over one’s feelings, impulses, and
                             actions, so as to modulate one’s emotions, contain
                             one’s thoughts, or restrain one’s behavior.
    Higher-order             Sophisticated thinking skills that are used when one is
                             engaged in such things as planning ahead, exercising
    cognition:               logical reasoning, weighing the risks and rewards of a
                             potential decision, or systematically evaluating a
                             complicated situation.
    Structural brain         Physical changes in the brain’s anatomy, which mainly
                             occur prenatally and during infancy, childhood, and
    development:             adolescence, and generally result in improvements in
                             the speed and efficiency of information processing and
                             the more effective coordination of activity across brain
                             regions.
    Functional brain         Systematic changes in the brain’s patterns of activity,
                             which mainly occur prenatally and during infancy,
    development:             childhood, and adolescence, and that are most
                             commonly identified through functional Magnetic
                             Resonance Imaging (fMRI).
                             Synaptic pruning: A key aspect of structural brain
                             development, wherein unnecessary connections
                             between brain cells are eliminated, thereby improving
                             the brain’s efficiency. Synaptic pruning occurs
                             prenatally and during infancy, childhood, and
                             adolescence, and is largely complete by adulthood.
    Myelination:             A key aspect of structural brain development, wherein
                             biological connections between brain cells become
                             sheathed in a white fatty substance called myelin,
                             which improves connectivity between brain regions,
                             thereby increasing the speed of information processing.
                             Myelination begins prenatally and occurs throughout
                             life.




                                          19
Case 1:24-cv-00496-JAO-WRP   Document 35-5   Filed 12/23/24   Page 22 of 76
                              PageID.636

                             TABLE OF EXHIBITS

    Exhibit    Description

        A      Curriculum Vitae of Elizabeth E. Cauffman, Ph.D.




                                        20
Case 1:24-cv-00496-JAO-WRP   Document 35-5   Filed 12/23/24   Page 23 of 76
                              PageID.637




      EXHIBIT A
 Case 1:24-cv-00496-JAO-WRP              Document 35-5         Filed 12/23/24      Page 24 of 76
                                          PageID.638


                                  ELIZABETH E. CAUFFMAN


Department of Psychological Science                        (949) 824-4075 – Phone
School of Social Ecology                                   (949) 824-3002 – FAX
University of California, Irvine                           cauffman@uci.edu
4308 Social & Behavioral Sciences Gateway                  http://3dlab.psychology.uci.edu/
Irvine, CA 92697



CURRENT POSITION

2010-present   Professor, University of California, Irvine
                          Department of Psychological Science
                          Department of Criminology Law & Society (courtesy appointment)
                          School of Education (courtesy appointment)
                          School of Law (courtesy appointment)

PREVIOUS POSITIONS

2006-2010      Associate Professor, Departments of Psychological Science, and Education.
               University of California, Irvine.

2004-2006      Assistant Professor, Departments of Psychological Science, and Education.
               University of California, Irvine.

1998-2004      Assistant Professor, Western Psychiatric Institute & Clinic.
               Department of Psychiatry – Law and Psychiatry Research Program.
               University of Pittsburgh

1995 - 1996    Adjunct Faculty, Department of Psychology, The College of New Jersey (formerly
               Trenton State College).

EDUCATION

1998     Stanford University
         Postdoctoral Fellow at the Stanford Center on Adolescence.

1996     Temple University
         Ph.D. in Developmental Psychology.

1992     University of California, Davis
         B.A. in Psychology. Minor in Human Development.

HONORS AND AWARDS

2024    William G. Steiner Heart of Service Award, Orangewood Foundation, CA.
2022    Mavis Hetherington Award for Excellence in Applied Developmental Science from Division 7
        of the American Psychological Association
 Case 1:24-cv-00496-JAO-WRP              Document 35-5        Filed 12/23/24      Page 25 of 76
                                          PageID.639                                     E. Cauffman
                                                                                              Page 2


2020    Orange County’s 100 top influencers, Orange County Register, CA
2019    Distinguished Faculty Award for Mentorship, University of California, Irvine
2014    Social Ecology Professor of the Year, University of California, Irvine
2012    Chancellor’s Fellow, University of California, Irvine
2011    Dean’s Award for Excellence in Undergraduate Teaching, University of California, Irvine
2010    Associated Graduate Students Mentoring Award, University of California, Irvine
2008    Dan Stokols Interdisciplinary Research Award, University of California, Irvine
2008    Associated Graduate Students Mentoring Award, University of California, Irvine
2007    Chancellor's Award for Excellence in Fostering Undergraduate Research, UC, Irvine
2002    Vice Chancellor’s Young Investigator Address for Exceptional Research, Univ. of Pittsburgh
1998    Summer Scholar at Center for Advanced Study in the Behavioral Sciences, Stanford University
1996    College of Arts & Sciences Teaching Merit in Psychology, Temple University
1994    James D. Page Award for Research, Temple University
1994    Counselor of the Year, Anchor House Shelter, Trenton, NJ

PROFESSIONAL ACTIVITIES

2022 – 2024    President, Society for Research on Adolescence
2019 – 2021    President-elect, Society for Research on Adolescence
2020 – 2022    Member, National Academies of Sciences, Engineering, and Medicine's Societal Experts
               Action Network
2018 – 2020    Executive Council, Member at Large, Society for Research on Adolescence
2018 – 2019    Member, National Academies of Sciences, Engineering, and Medicine's Committee on
               the Neurobiological and Socio-behavioral Science of Adolescent Development and Its
               Applications
2018           Member, Awards Committee, Society for Research on Adolescence
2017 – present Consultant, Youth Villages: The Force for Families
2015 – 2016    Member, Society for Research on Adolescence Awards Committee.
2007 – 2016    Member, John D. and Catherine T. MacArthur Foundation Models for Change Initiative.
2007 – 2008    Member, Membership Committee, Society for Research on Adolescence.
2005 – 2013    Member, Center for Psychology and Law, University of California, Irvine
2005 – 2010    Member, Office of Juvenile Justice and Delinquency Prevention Girls Study Group.
2005           Member, American Society of Criminology Gene Carte Student Paper Competition.
2003 - 2004    Governor Appointee to the Pennsylvania Commission on Crime and Delinquency,
               Juvenile Justice and Delinquency Prevention Committee.
2002           Ad hoc Committee Member, American Psychological Association Division 7 ad hoc
               committee to review Institutional Review Board requirements for research involving
               children.
2000 - 2002    Faculty Member, National Judicial College. Reno, NV.
2000 - 2002    Member, Society for Research on Adolescence Awards Committee.
1997 - 2006    Network Member, John D. and Catherine T. MacArthur Foundation Network on
               Adolescent Development and Juvenile Justice

UNIVERSITY PROFESSIONAL SERVICE

2021 – present Member, Chancellor’s Advisory Committee on Intercollegiate Athletics, University of
               California, Irvine
2019 – 2020    Chair, Institutional Review Board – Team E, University of California, Irvine
2016 – present Director, Masters of Legal & Forensic Psychology, University of California, Irvine
2013 – present Director, Center for Psychology and Law, University of California, Irvine
  Case 1:24-cv-00496-JAO-WRP              Document 35-5         Filed 12/23/24      Page 26 of 76
                                           PageID.640                                      E. Cauffman
                                                                                                Page 3


2011 – present Chair, Institutional Review Board, University of California, Irvine.
2016 – 2018    Co-Director, UC Consortium for Social Sciences & the Law
2010 – 2013    Director of Graduate Studies, Department of Psychological Science, UCI
2010           Chair, Academic Program Review Board, University of California, Irvine.
2008 – 2011    Vice Chair, Institutional Review Board, University of California, Irvine.
2008 – 2010    Member, Academic Program Review Board, University of California, Irvine.
2007 – 2010    Member, Council on Education Policy, University of California, Irvine.
2006 – 2010    Chair, Curriculum Committee for the Psychological Science, University of California,
               Irvine.
2006 – 2008    Member, Institutional Review Board, University of California, Irvine.
1998 - 2004    Reviewer, Western Psychiatric Institute & Clinic internal research review committee.


GRANT FUNDING

Juvenile Recovery Court
        Superior Court of Orange County
               $139,790 (5/6/2024 – 9/30/2025) – Principal Investigator

The Road to Reentry: A Randomized Control Trial of Young Adults in Custody from the Inside to the Outs
       National Institute of Justice
               $1,557,676 (1/1/2021 – 12/31/25) – Principal Investigator

Young Adult Court: A New Approach to Justice
       Board of State & Community Corrections – Proposition 47
               $2,469,922 (10/3/2024 – 6/30/2028) – Principal Investigator
       Health Care Agency of Orange County
               $10,100,356 (7/1/2022 – 6/30/2027) – Principal Investigator
       County of Orange AB109 Committee
               $552,915 (7/1/2024 – 6/30/2025) – Principal Investigator
       County of Orange AB109 Committee
               $299,538.00 (7/1/2022 – 6/30/2023) – Principal Investigator
       Community Action Partnership of Orange County
               $749,000 (11/1/2020 – 12/31/2021) – Principal Investigator
       National Institute of Justice
               $783,000 (1/1/2019 – 12/31/21) – Principal Investigator
       University of California – COVID-19 Emergency Funding
               $22,985 (4/13/2020 – 9/14/2020) – Principal Investigator
       UC Consortium on Adolescent Development
               $8,682.50 (1/1/19 – 12/31/2020) – Principal Investigator
       John and Jill Manly
               $70,000 (5/1/2019 – no end date) – Principal Investigator

Building a Young Adult Court in Orange County
        UC Consortium on Adolescent Development
               $3,965 (1/1/2018 – 6/30/2018) – Principal Investigator
  Case 1:24-cv-00496-JAO-WRP               Document 35-5         Filed 12/23/24     Page 27 of 76
                                            PageID.641                                      E. Cauffman
                                                                                                 Page 4


Crossroads: Formal vs. Informal Processing in the Juvenile Justice System
       National Institute of Justice
               $999,918 (7/1/2020 – 6/30/2023) – Principal Investigator
       William T. Grant Foundation
               $598,937 (7/1/2018 – 6/30/2021) – Principal Investigator
       Fudge Family Foundation
               $75,000 (10/1/2017 – no end date) – Principal Investigator
               $75,000 (10/1/2016 – no end date) – Principal Investigator
       SAMHSA
               $35,000 (8/5/2016 – 9/22/2016) – Principal Investigator
       County of Orange
               $402,714 (7/1/2015 – 12/31/2018) – Principal Investigator
       John D. & Catherine T. MacArthur Foundation Models for Change Initiative
               $352,187 (1/1/2016 – 12/31/2016) – Principal Investigator
               $1,000,000 (7/1/2015 – 12/31/18) – Principal Investigator
               $3,000,000 (10/1/10 – 9/30/17) – Principal Investigator
               $550,000 (7/1/2016 – 12/31/2018) – Principal Investigator
       Office of Juvenile Justice & Delinquency Prevention
               $500,000 (10/1/10 – 9/30/14) – Principal Investigator

UC Consortium on Social Sciences & the Law
      UC Multicampus Research Programs and Initiatives
              $298,341 (1/1/2015 – 12/31/2016) – Co Principal Investigator

Fight Crime: Invest in Kids – Educating Police on Adolescent Development
       Council for a Strong America
               $22,500 (8/30/2016 – 12/31/2017) – Principal Investigator

Ending Homelessness for Youth
       Project Hope Alliance
               $4,000 (10/31/2018 – no end date) – Principal Investigator
               $14,500 (1/1/2018 – no end date) – Principal Investigator
               $14,500 (10/1/2017 – no end date) – Principal Investigator
               $14,500 (1/1/2017 – no end date) – Principal Investigator
               $14,500 (10/1/2016 – no end date) – Principal Investigator
               $13,500 (10/1/2015 – no end date) – Principal Investigator
               $11,500 (8/31/2014 – no end date) – Principal Investigator

Center for Psychology & Law - Views by Two Speaker Series
        Fudge Family Foundation
                $8,000 (3/9/2016 – no end date) – Principal Investigator
                $8,000 (2/18/2015 – no end date) – Principal Investigator

Infrastructure Development: Formal vs. Informal Processing in the Juvenile Justice System
        John D. & Catherine T. MacArthur Foundation Models for Change Initiative
                $375,000 (2/15/10 – 12/31/11) – Principal Investigator

Occupying Idle Hands: Out-of-School Time and Successful Navigation of the High School Years
       Charles Stewart Mott Foundation
               $150,000 (9/1/09 – 8/31/11) – Co-Principal Investigator
  Case 1:24-cv-00496-JAO-WRP               Document 35-5             Filed 12/23/24   Page 28 of 76
                                            PageID.642                                     E. Cauffman
                                                                                                Page 5



Violation of Probation and Parole: How much DMC is there in Parole/Probation Violations?
        John D. & Catherine T. MacArthur Foundation Models for Change Initiative
                $50,000 (10/15/08 – 6/30/10) – Principal Investigator

Acculturation and Moral Foundations in Adolescence
        UC MEXUS
                $1,500 (3/1/08 – 2/28/09) – Principal Investigator

The Iatrogenic Effects of Incarceration
        UC Irvine Center for Evidence-Based Corrections
                $17,366 (2005-2006) – Principal Investigator

NICHD Study of Early Child Care and Youth Development – Phase IV
      National Institute of Child Health and Human Development
              $1,376,990 (2/1/05 – 1/31/07) – Co-Principal Investigator

Assessing Juvenile Psychopathy: A Longitudinal Follow-up
        William T. Grant Foundation
                $404,455 (1/15/04 – 1/14/06) – Principal Investigator
        John D. & Catherine T. MacArthur Foundation Network on
        Adolescent Development & Juvenile Justice
                $80,000 (1/15/04 – 1/14/06) – Principal Investigator

Improving Services for Mentally Ill Juvenile Offenders
       National Institute of Mental Health – K01
               $697,915 (3/15/01 – 6/30/06) – Principal Investigator

Decision-Making in Everyday Life: How Culpable are Adolescents?
       John D. & Catherine T. MacArthur Foundation Network on
       Adolescent Development & Juvenile Justice
               $71,160 (9/1/04 – 9/1/05) – Principal Investigator

Understanding Girls in the Juvenile Justice System
       Juvenile Law Center
               $6,500 (7/1/04 – 1/30/05) – Principal Investigator

Mental Health Screening and Assessment in Juvenile Detention: A Multi-Site Study
       Pennsylvania Department of Public Welfare
               $116,000 (4/1/03 – 6/30/05) – Principal Investigator

Understanding the Female Offender
       National Institute of Justice
               $195,655 (12/1/01 – 6/30/04) – Co-Principal Investigator

Assessing Juvenile Psychopathy: Developmental & Legal Implications
        William T. Grant Foundation
               $279,659 (7/01/01 – 12/31/03) – Principal Investigator
  Case 1:24-cv-00496-JAO-WRP                Document 35-5         Filed 12/23/24   Page 29 of 76
                                             PageID.643                                 E. Cauffman
                                                                                             Page 6


        John D. & Catherine T. MacArthur Foundation Network on
        Adolescent Development & Juvenile Justice
                $50,000 (7/01/01 – 12/31/03) – Principal Investigator

Pathways to Desistance: A Prospective Study of Serious Adolescent Offenders
      Office of Juvenile Justice & Delinquency Prevention
               $1,694,404 (2000 – 2001) – Co-Principal Investigator
               $2,091,578 (2001 – 2002) – Co-Principal Investigator
               $499,999 (2002 – 2003) – Co-Principal Investigator
               $1,699,991 (2003 – 2005) – Co-Principal Investigator
               $1,499,817 (2005-2006) – Co-Principal Investigator
               $1,498,131 (2006-2007) – Co-Principal Investigator
               $130,000 (2007-2008) – Co-Principal Investigator
               $600,000 (2007-2008) – Co-Principal Investigator
               $553,934 (2008-2009) – Co-Principal Investigator
               $449,811 (2009-2010) – Co-Principal Investigator
      William T. Grant Foundation
               $348,391 (2000 – 2002) – Co-Principal Investigator
               $350,000 (2002 –2005) – Co-Principal Investigator
      Robert Wood Johnson Foundation
               $739,486 (2001 – 2005) – Co-Principal Investigator
      Pennsylvania Commission on Crime & Delinquency
               $149,659 (2001 – 2002) – Co-Principal Investigator
               $149,976 (2003 –2003) – Co-Principal Investigator
      John D. & Catherine T. MacArthur Foundation Network on
      Adolescent Development & Juvenile Justice
               $35,364 (4/01/02 – 12/31/02) – Co-Principal Investigator
      National Institute on Drug Abuse
               $4,423,097 (2005-2010) – Co-Principal Investigator

Prospective Study of Serious Adolescent Offenders: Pilot
       National Institute of Justice
                $368,176 (9/1/99 – 2/28/01) – Co-Principal Investigator

Site Selection: Prospective Study of Serious Adolescent Offenders
         John D. & Catherine T. MacArthur Foundation Network on
         Adolescent Development & Juvenile Justice
                 $64,935 (5/1/99 – 10/31/00) – Principal Investigator

Assessing Mental Health Problems among Serious Institutionalized Delinquents
        National Institute of Justice
               $4,531 (4/15/99 – 10/15/00) – Consultant

MacTeen: A Compendium of Measures
      John D. & Catherine T. MacArthur Foundation
              $25,500 (4/1/99 – 12/31/99) – Principal Investigator

Neuropsychological and Psychological Functioning of Incarcerated & Non-incarcerated Youth.
       John D. & Catherine T. MacArthur Foundation Network on
       Adolescent Development & Juvenile Justice
  Case 1:24-cv-00496-JAO-WRP                Document 35-5          Filed 12/23/24       Page 30 of 76
                                             PageID.644                                         E. Cauffman
                                                                                                     Page 7


                $35,000 (11/1/97 – 10/31/98) – Principal Investigator

Posttraumatic Stress Disorder among Female Juvenile Offenders.
        Stanford Center on Adolescence Small Seed Grant
                $5,000 (11/1/96 – 10/31/97) - Principal Investigator

PUBLICATIONS
*Asterisks denote publications with current or former graduate students or postdoctoral scholars.

UNDER REVIEW

Riano, N.S., Beardslee, J., & Cauffman, E. (Under Review). Initial predictors of HIV testing and post-test
   behavior change among legal-system-impacted young adults. Health & Justice.

JOURNAL ARTICLES – PEER-REVIEWED

Cauffman, E., *Gillespie, M.L., *Beardslee, J., Davis, F., Hernandez, M., & Williams, T. (2024).
        Adolescent contact, lasting impact? Lessons learned from two longitudinal studies spanning 20
        years of developmental science research with justice-involved youth. Psychological Science in
        the Public Interest. 24(3), 133-161

*Smith IV, C.D., Riano, N.S., Randolph, I., Beardslee, J., & Cauffman, E. (2024). The panacea that is
         love: The influence of romantic relationships on justice-involved young adults' self-reported
         health. Couple and Family Psychology: Research and Practice, In Press.

*Sbeglia, C., *Simmons, C., *Icenogle, G., Levick, M., *Peniche, M., *Beardslee, J., & Cauffman, E.
          (2024). Life after life: Recidivism among individuals formerly sentenced to mandatory juvenile
          life without parole. Journal of Research on Adolescence.

*Sbeglia, C., *Smith, C. D., Frick, P. J., Steinberg, L., & Cauffman, E. (2024). Too sensitive or not
          sensitive enough? Sensitivity to context and justice-involved youths' response to violence
          exposure. Journal of Research on Adolescence.

Cauffman, E., *Beardslee, J., *Sbeglia, C., Frick, P. J., & Steinberg, L. (2024). Trajectories of offending
        over 9 years after youths' first arrest: What predicts who desists and who continues to offend?
        Journal of research on adolescence: the official journal of the Society for Research on
        Adolescence.

*Sbeglia, C., *Randolph, I., *Cavanagh, C., & Cauffman, E. (2024). Parental legal culpability in youth
          offending. Annual Review of Criminology, 7, 403-416.

*Cavanagh, C., LaBerge, A., Dalzell, E., & Cauffman, E. (2024). Attitudes toward police and judges of
         Latina immigrants with a justice-involved child: Do documentation status and family
         deportations matter? Crime & Delinquency, 0 (0).

Kemp, E.C., Ray, J.V., Frick, P.J., Thornton, L.C., Wall Myers, T.D., Robertson, E.L., Steinberg, L., &
         Cauffman, E. (2024). The Inventory of Callous-Unemotional Traits (ICU) Self-Report
         Version: Factor Structure, Measurement Invariance, and Predictive Validity in Justice-Involved
         Male Adolescents. Psychological Assessment. Epub ahead of print. PMID: 38900518.
  Case 1:24-cv-00496-JAO-WRP                  Document 35-5           Filed 12/23/24         Page 31 of 76
                                               PageID.645                                            E. Cauffman
                                                                                                          Page 8




Wasserman, A.M., *Kan, E., *Beardslee, J., *Icenogle, G., Frick, P.J., Steinberg, L., & Cauffman, E.
        (2024). Age-dynamic effects of self-regulation and sensation seeking on offending among
        justice-involved youth. Journal of Applied Developmental Psychology, 92(3).

Speck, J., Frick, P.J., Vaughan, E.P., Walker, T.M., Robertson, E.L., Ray, J.V., Wall Myers, T.D.,
           Thornton, L.C., Steinberg, L., & Cauffman, E. (2024). Health service utilization in adolescents
           following a first arrest: The role of antisocial behavior, callous-unemotional traits, and juvenile
           justice system processing. Administration and Policy in Mental Health and Mental Health
           Services Research, 51(3), 1-13.

Goetz, C., Frick, P.J., Thornton, L.C., Ray, J.V., Wall Myers, T.D., Steinberg, L., & Cauffman, E. (2023).
           Effects of neighborhood disadvantage and peer deviance on adolescent antisocial behavior:
           Testing potential interactions with age-of-onset. Development and Psychopathology, 1-12.

*Simmons, C., *Rodgers, E.L., & Cauffman, E. (2023). Examining the relation among callous-
        unemotional traits and cortisol, alpha-amylase, and testosterone reactivity in legal system
        involved young men. Psychneuroendocrinology, 158(1).

Lavoie, J., *Fine, A., Thomas, A., Frick, P.J., Steinberg, L., & Cauffman, E. (2023). How important is
           developmental maturity in assessing whether adolescents will share true or false accounts of a
           first offense in legal interactions? Journal of Developmental and Life-Course Criminology,
           9(1), 1-22.

*Rowan, Z. R., *Fine, A., Steinberg, L., Frick, P. J., & Cauffman, E. (2023). Labeling effects of initial
      juvenile justice system processing decision on youth interpersonal ties. Criminology, 61(4), 731-
      757.

*Kan, E., *Beardslee, J., Frick, P., Steinberg, L., & Cauffman, E. (2023). Impulse control moderates the
       association between substance use and substance use-related consequences among justice-system-
       involved youth, Applied Developmental Science.

Stover, P., Field, M., Andermann, M., Bailey, R., Batterham, R., Cauffman, E., Fruhbeck, G., Iversen,
        Per., Starke-Reed, P., Sternson, S., Vinoy, S., Witte, V., Zuker, C., & Angelin, B. (2023).
        Neurobiology of eating behavior, nutrition, and health. Journal of Internal Medicine, 294(5),
        582-604.

Vaughan, E. P., Frick, P. J., Robertson, E. L., Ray, J. V., Thornton, L. C., Wall Myers, T. D., Steinberg, L., &
       Cauffman, E. (2023). Interpersonal relationships and callous-unemotional traits during adolescence
       and young adulthood: An investigation of bidirectional effects in parent, peer, and romantic
       relationships. Clinical Psychological Science, 11(3), 391-408.

LaBerge, A., Osuna, A. I., *Cavanagh, C., Cauffman, E. (2023). Mothers with justice‐involved sons:
       Socioeconomic impacts of COVID‐19 by neighborhood disorder in the United States. Journal of
       Social Issues, 79, 747-772. DOI: 10.1111/josi.12527
  Case 1:24-cv-00496-JAO-WRP                  Document 35-5           Filed 12/23/24         Page 32 of 76
                                               PageID.646                                            E. Cauffman
                                                                                                          Page 9


Vaughan, E. P., Speck, J. S., Frick, P. J., Walker, T. M., Robertson, E. L., Ray, J. V., Wall Myers, T. D.,
      Thornton, L. C., Steinberg, L., & Cauffman, E. (2023). Proactive and reactive aggression:
      Developmental trajectories and longitudinal associations with callous-unemotional traits,
      impulsivity, and internalizing emotions. Development and Psychopathology 1-9.

Robertson, E.L., Ray, J.V., Frick. P.J., Vaughan, E.P., Thornton, L.C., Wall Myers, T.D., Steinberg, L., &
       Cauffman, E. (2023). The bidirectional effects of antisocial behavior, anxiety, and trauma
       exposure: Implications for our understanding of the development of callous-unemotional
       traits. Journal of Psychopathology and Clinical Science (formerly Journal of Abnormal
       Psychology), 132(4), 445-460.

*Cavanagh, C., Kitzmiller, M. K., Henke, M., & Cauffman, E. (2023). Examining the experience of women
       in justice-involved families during the COVID-19 pandemic: The impact of familial incarceration.
       Journal of Family Issues, doi: 10.1177/012513X221150983

*Kan, E., *Riano, N. S., *Beardslee, J., Frick, P. J., Steinberg, L., Cauffman, E. (2023). Race differences
       in the association between binge drinking and treatment among first-time justice-system-impacted
       youth. Alcohol and Alcoholism, 58(1), 23-30.

LaBerge, A., Osuna, A. I., *Cavanagh, C., & Cauffman, E. (2023). Mothers with justice-involved sons:
       Socioeconomic impacts of COVID-19 by neighborhood disorder in the United States. Journal of
       Social Issues, 79, 747-772.

Drozdova, A. D., *Thomas, A. G., Volpert-Esmond. H. I., Steinberg, L., Frick, P. J., & Cauffman, E.
       (2022). Drug use homophily in adolescent offenders’ close friendship groups. Journal of Youth
       and Adolescence, 51(1), 2046-2059.

*Brown, C., *Beardslee, J., Frick, P. J., Steinberg, L. D., & Cauffman, E. (2022). Perceived sleep quality
      predicts aggressive offending in adolescence and young adulthood. Journal of Child Psychology
      and Psychiatry.

LaBerge, A., *Cavanagh, C., & Cauffman, E. (2022). Juvenile justice- and dual system-involved youth:
       The role of primary caregiver monitoring habits on juvenile recidivism. Journal of Research in
       Crime and Delinquency, 61(2).

*Brown, C., *Fine, A., & Cauffman, E. (2019). Do positive perceptions of correctional staff mitigate
      institutional violence among youthful offenders? Psychology, Public Policy, and Law, 25(1), 38-
      45.

Vaughan, E. P., va, J. S., Frick, P. J., Robertson, E. L., Ray, J. V., Thornton, L. C., Wall Myers, T. D.,
       Steinberg, L., & Cauffman, E. (2022). Longitudinal associations of parental monitoring and
       delinquent peer affiliation: The potential influence of parental solicitation and monitoring rules.
       Journal of Adolescence, 94(4), 656-666.

*Cavanagh, C., *Simmons, C., Liggett O’Malley, R., Frick, P., Steinberg, L. & Cauffman, E. (2022). The
       moderating role of maternal CU traits in the stability of justice-involved adolescents’ CU traits.
       Journal of Clinical Child and Adolescent Psychology, 8, 1-15.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5          Filed 12/23/24       Page 33 of 76
                                            PageID.647                                        E. Cauffman
                                                                                                  Page 10



*Cavanagh, C., Dalzell, E., LaBerge, A., & Cauffman, E. (2022). Do Parental Monitoring Habits Change
      in Response to Juvenile Recidivism? In S. Blair & S. Maxwell (Eds.), Contemporary
      Perspectives in Family Research, Vol. 20: The Justice System and the Family. Bingley, UK:
      Emerald Publishing Limited, Leeds, pp. 19-38.

*Knowles, A., *Rowan, Z., Frick, P.J., Steinberg, L., & Cauffman, E. (2022). Examining the relation
      between estimated life expectancy and delinquency across development: an examination of
      adolescent males following their first arrest. Journal of Developmental and Life-
      Course Criminology, 8(1), 1-24.

Dvoskin, J., Golding, . Heilbrun, K., Cauffman, E., DeMatteo, D., Edens, J., Hart, S., Mulvey, E.,
       Skeem, J., Viljoen, J., & Vincent, G. (2022). Psychopathic personality in early childhood: A
       critical comment on Lopez-Romero et al. (2021). Journal of Personality Disorders, 36, 249-253.

*Rowan, Z., *Kan, E., Frick, P.J., & Cauffman, E. (2022). Not (entirely) guilty: The role of co-offenders
      in diffusing responsibility for crime. Journal of Research in Crime and Delinquency, 59(4), 415-
      448.

*Fine, A., *Beardslee, J., Mays, R., Frick, P., Steinberg, L., & Cauffman, E. (2022). Measuring youths’
        perceptions of police: Evidence from the Crossroads Study. Psychology, Public Policy, & Law,
        28(1), 92-107.

*Beardslee, J., *Kan, E., *Simmons, C., Pardini, D., *Peniche, M., Frick, P., Steinberg, L., & Cauffman,
       E. (2021). A within-individual examination of the predictors of gun carrying during adolescence
       and young adulthood among young men. Journal of Youth and Adolescence, 50(10), 1952-1969.

Vaughan, E. P., Frick, P. J., Ray, J. V., Robertson, E. L., Thornton, L. C., Wall Myers, T. D., Steinberg,
      L., & Cauffman, E. (2021). The associations of maternal warmth and hostility with prosocial and
      antisocial outcomes in justice-involved adolescents. Developmental Psychology, 57(12), 2179-
      2191.

*Fine, A., Moule, R., Trinkner, R., Frick, P., Steinberg, L., & Cauffman, E. (2021). Legal socialization
        and individual belief in the code of the streets: A theoretical integration and longitudinal
        test. Justice Quarterly, 39(6), 1310-1331.

*Knowles, A., *Rowan, Z., Frick, P.J., Steinberg, L., & Cauffman, E., (2021). Evading detection during
      adolescence: The role of criminal capital and psychosocial factors. Justice Quarterly, 38(2), 2021.

*Cavanagh, C., LaBerge, A., & Cauffman, E. (2021). Attitudes toward legal actors among dual system youth.
       Journal of Social Issues, 77(2), 504-527.

*Fine, A., Amemiya, J., Frick, P., Steinberg, L., & Cauffman, E. (2021). Perceptions of police from ages
        13 to 22 among justice-involved Black, Latino, and White justice-involved males. Law & Human
        Behavior, 45(3), 243-255.

*Shulman, E., *Beardslee, J., *Fine, A., Frick, P., Steinberg, L., & Cauffman, E. (2021). Exposure to
      gun violence: Associations with anxiety, depressive symptoms, and aggression among male
      juvenile offenders. Journal of Clinical Child and Adolescent Psychology, 50(3), 353-366.
  Case 1:24-cv-00496-JAO-WRP                Document 35-5          Filed 12/23/24       Page 34 of 76
                                             PageID.648                                         E. Cauffman
                                                                                                    Page 11


Chen, J.M., *Fine, A.D., Norman, J.B., Frick, P.J., & Cauffman, E. (2021). Out of the picture: Latinx
        and White male youths’ facial features predict their juvenile justice system processing outcomes.
        Crime & Delinquency, 67(6-7), 787-807.

*Icenogle, G. & Cauffman, E. (2021). Adolescent decision making: A decade in review. Journal of
       Research on Adolescence, 31(4), 1006-1022.

*Simmons, C., *Kan, E., Simpkins, S., *Donley, S., Steinberg, L., Frick., P.J., & Cauffman, E. (2021).
      Assessing the association between participation in extracurricular activities and delinquent
      behavior among justice-involved young men. Journal of Research on Adolescence, 31(2), 335-
      350.

*Kan, E., *Knowles, A., *Peniche, M., Frick, P.J., Steinberg, L., & Cauffman, E. (2021). Neighborhood
       disorder and risk-taking among justice-involved youth – The mediating role of life expectancy.
       Journal of Research on Adolescence, 31(2), 282-298.

Cauffman, E., *Beardslee, J., *Fine, A., Frick, P. & Steinberg, L. (2021). Crossroads in juvenile justice:
      The impact of initial processing decision on youth five years after first arrest. Development &
      Psychopathology, 33(2), 700-713.

*Fine, A., *Rowan, Z., & Cauffman, E. (2020). Partners or adversaries? The relation between juvenile
        diversion supervision and parenting practices. Law & Human Behavior, 44(6), 461-473.

*Cavanagh, C., Dalzell, E., & Cauffman, E. (2020). Documentation status, neighborhood disorder, and
      attitudes toward police and courts among Latina immigrants. Psychology, public policy, and law,
      26(1), 121.

*Malloy, L.C., Sutherland, J.E., & Cauffman, E. (2021). Sexual abuse disclosure among incarcerated
       female adolescents and young adults. Child Abuse and Neglect, 116(1).

Kitzmiller, M.K., Cavanagh, C., Frick, P., Steinberg, L., & *Cauffman, E. (2021). Parental incarceration
        and the mental health of juvenile offenders: The moderating role of neighborhood disorder.
        Psychology, Public Policy, and Law, 27(2), 256-267.

Robertson, E.L., Frick, P.J., Ray, J.V., Thornton, L.C., Wall Myers, T.D., Steinberg, L., & Cauffman, E.
       (2021). Do callous-unemotional traits moderate the effects of the juvenile justice system on later
       offending behavior? Journal of Child Psychology and Psychiatry, 62(2), 212-222.

*Kan, E., *Beardslee, J., Frick P.J., Steinberg, L., & Cauffman, E. (2020). Marijuana use among justice-
       involved youth after California state-wide legalization, 2015-2018. American Journal of Public
       Health, 110, 1386-1392.

Robertson, E.L., Frick, P.J., Walker, T.M., Kemp, E.C., Ray, J.V., Thornton, L.C., Wall Myers, T.D.
       Steinberg, L., & Cauffman, E. (2020). Callous-unemotional traits and risk of gun carrying and
       use during crime. American Journal of Psychiatry, 177(9), 827-833.

*Fine, A., *Simmons, C., *Cavanagh, C., *Rowan, Z., & Cauffman, E. (2020). Implications of youths’
        perceptions of police bias and the code of the street for violent offending. Psychology of Violence,
        10, 473-482.
  Case 1:24-cv-00496-JAO-WRP                Document 35-5          Filed 12/23/24       Page 35 of 76
                                             PageID.649                                         E. Cauffman
                                                                                                    Page 12


Matlasz, T. M., Frick, P. J., Robertson, E. L., Ray, J. V., Thornton, L. C., Wall Myers, T. D., Steinberg,
          L., & Cauffman, E. (2020). Does self-report of aggression after first arrest predict future
          offending and do the forms and functions of aggression matter? Psychological Assessment, 32,
          265-276.

*Fine, A., *Thomas, A., van Rooij, B., & Cauffman, E. (2020). Age-graded differences and parental
           influences on adolescents’ obligation to obey the law. Journal of Developmental and Life-
           Course Criminology, 6, 25-42.

*Fine, A., *Donley, S., *Cavanagh, C., & Cauffman, E. (2020). Youths’ perceptions of law enforcement
           and worry about crime from 1976-2016. Criminal Justice & Behavior, 47, 564-581.

*Simmons, C., *Rowan, Z., *Knowles, A., Steinberg, L., Frick., P.J., & Cauffman, E. (2019). A life
        history approach to understanding juvenile offending and aggression. Aggression and Violent
        Behavior, 49,

*Beardslee, J., Miltimore, S., *Fine, A., Frick, P., Steinberg, L., & Cauffman, E. (2019). Under the radar
         or under arrest: How is adolescent boys’ first contact with the juvenile justice system related to
         future offending and arrests? Law and Human Behavior, 43, 342-357.

*Fine, A., *Kan, E., & Cauffman, E. (2019). Adolescents’ confidence in institutions: Do America’s
          youth differentiate between legal and social institutions? Developmental Psychology, 55, 1758-
          1767.

*Kelly, E., Novaco, R. & Cauffman, E. (2019). Anger and depression among incarcerated male youth:
          Predictors of violent and non-violent offending during adjustment to incarceration. Journal of
          Consulting and Clinical Psychology, 87, 693-705.

Ray, J.V, Frick, P.J., Thornton, L.C., Wall Myers, T.D., Steinberg, L, & Cauffman, E. (2019).
          Estimating and predicting the course of callous-unemotional traits in first-time adolescent
          offenders. Developmental Psychology, 55, 1709-1719.

*Cavanagh, C. & Cauffman, E. (2019). The role of re-arrests in juvenile offenders’ and their mothers’
        attitudes toward police. Law and Human Behavior, 43, 220-231.

*Cavanagh, C., *Mahler, A., & Cauffman, E. (2019). How does juvenile offending relate to mothers'
         aspirations and expectations for their sons? Journal of Research on Adolescence, 29, 493-507.

Thornton, L. C., Frick, P. J., Ray, J. V., Wall Myers, T. D., Steinberg, L. & Cauffman, E. (2019). Risky
          sex, drugs, sensation seeking, and callous unemotional traits in justice-involved adolescent
          males. Journal of Clinical Child and Adolescent Psychology, 48, 68-79.

*Kaasa, S., *Tatar, J., Dezember, A. & Cauffman, E. (2018). The impact of waiver to adult court on
          youths’ perceptions of procedural justice. Psychology, Public Policy, & Law, 24, 418-429.

Robertson, E. L., Frick. P. J., Ray, J. V., Thornton, L. C., Wall Myers, T. D., Steinberg, L., & Cauffman,
         E. (2018). The associations among callous-unemotional traits, worry, and aggression in justice
         involved adolescent boys. Clinical Psychological Science, 6, 671-684.
  Case 1:24-cv-00496-JAO-WRP                Document 35-5         Filed 12/23/24        Page 36 of 76
                                             PageID.650                                        E. Cauffman
                                                                                                   Page 13


*Fine, A., *Simmons, C., Miltimore, S., Cauffman, E., Steinberg, L., & Frick, P. (2018). The school
           experiences of male adolescent offenders: Implications for academic performance and
           recidivism. Crime and Delinquency, 64, 1326-1350.

Bersani, B., *Fine, A., Piquero, A., Steinberg, L., Frick, P., & Cauffman, E. (2018). Investigating the
          offending histories of undocumented immigrants. Migration Letters, 15, 147-166.

*Simmons, C., Steinberg, L., Frick, P.J., & Cauffman, E. (2018). The differential influence of absent and
        harsh fathers on juvenile delinquency. Journal of Adolescence, 62, 9-17.

*Fine, A., Wolff, K., Baglivio, M., Piquero, A., Frick, P., Steinberg, L., & Cauffman, E. (2018). Does
           the effect of justice system attitudes on adolescent crime vary based on psychosocial maturity?
           Child Development, 89, 468-479.

*Mahler, A., Fine, A., Frick, P., Steinberg, L. & Cauffman, E. (2018). Expecting the unexpected?
         Expectations for future success among adolescent first-time offenders. Child Development, 89,
         535-551.

*Thomas, A., *Ozbardakci, N., *Fine, A., Steinberg, L., Frick, P. & Cauffman, E. (2018). Effects of
         physical and emotional hostility on adolescents’ depression and reoffending. Journal of
         Research on Adolescence, 28, 427-437.

*Kimonis, E., Graham, N., & Cauffman, E. (2018). Aggressive male juvenile offenders with callous-
         unemotional traits show aberrant attentional orienting to distress cues. Journal of Abnormal
         Child Psychology, 46, 519-527.

Wall Myers, T.D., Salcedo, A., Frick, P.J., Ray, J.V., Thornton, L.C., Steinberg, L., & Cauffman, E.
        (2018). Understanding the link between exposure to violence and aggression in justice-
        involved adolescents. Development and Psychopathology, 30, 593-603.

*Fine, A., *Cavanagh, C., Frick, P., Steinberg, L. & Cauffman, E. (2017). Can probation officers
           identify remorse among male adolescent offenders? Psychological Assessment, 29, 754-761.

Broidy, L. & Cauffman, E. (2017). The Glueck women: Using the past to assess and extend
          contemporary understandings of women’s desistance from crime. Journal of Developmental
          Life Course Criminology, 3, 102-125.

Haltigan, J.D., Roisman, G., Cauffman, E., & Booth-LaForce (2017). Correlates of childhood versus
           adolescence-onset internalizing symptomatology from infancy to young adulthood. Journal of
           Youth & Adolescence, 46, 197-212.

*Cavanagh, C. & Cauffman, E. (2017). The longitudinal association of relationship quality and
        reoffending among first time juvenile offenders and their mothers. Journal of Youth and
        Adolescence, 46, 1533–1546

*Cavanagh, C. & Cauffman, E. (2017). What they don’t know can hurt them: Mothers’ legal knowledge
        of youth reoffending. Psychology, Public Policy, & Law, 23, 141-153.
  Case 1:24-cv-00496-JAO-WRP                Document 35-5         Filed 12/23/24       Page 37 of 76
                                             PageID.651                                        E. Cauffman
                                                                                                   Page 14


*Mahler A., *Simmons, C., Frick, P., Steinberg, L., & Cauffman, E. (2017). Aspirations, expectations
         and delinquency: The moderating effect of impulse control. Journal of Youth and Adolescence,
         46, 1503-1514.

*Fine, A., *Donley, S., *Cavanagh, C., Steinberg, L., Frick, P., & Cauffman, E. (2017). And justice for
           all: Determinants and effects of probation officers' processing decisions regarding first-time
           juvenile offenders. Psychology, Public Policy, and Law, 23, 105-117.

*Fine, A., *Cavanagh, C., *Donley, S., Frick, P., Steinberg, L., & Cauffman, E. (2017). Is the effect of
           justice system attitudes on recidivism stable after youths’ first arrest? Race and legal
           socialization among first-time offenders. Law and Human Behavior, 41, 146-158.

Cauffman, E., *Donley, S., & *Thomas, A. (2017). Raising the age: Raising the issues. Criminology &
        Public Policy, 16, 73-81.

Ray, J., Frick, P., Thornton, L., Steinberg, L., & Cauffman, E. (2017). Callous-unemotional traits
           predict self-reported offending in adolescent boys: The mediating role of delinquent peers and
           the moderating role of parenting practices. Developmental Psychology, 53, 319-328.

Cauffman, E., *Fine, A., *Thomas, A. & *Monahan, K. (2017). Trajectories of violent behavior among
        females and males. Child Development, 88, 41-54.

*Fine, A., *Mahler, A., Steinberg, L., Frick, P., & Cauffman, E. (2017). Individual in context: The role
           of impulse control on the association between the home, school, and neighborhood
           developmental contexts and adolescent delinquency. Journal of Youth & Adolescence, 46,
           1488-1502.

*Fine, A., van Rooij, B., Feldman, Y., Shalvi, S., Scheper, E., Leib, M. & Cauffman, E. (2016). Rule
           orientation and behavior: Development and validation of a scale measuring individual
           acceptance of rule violation. Psychology, Public Policy, & Law, 22, 314-329.

*Shulman, E., *Bechtold, J., *Kelly, E., & Cauffman, E. (2016). Mental health screening in juvenile
         justice settings: Evaluating the utility of the Massachusetts Youth Screening Inventory,
         Version 2. Criminal Justice Policy Review.

*Fine, A., *Mahler, A., *Simmons, C., Chen, C., Moyzis, R., & Cauffman, E. (2016). Relations between
           three dopaminergic system genes, school attachment, and adolescent delinquency.
           Developmental Psychology, 52, 1893-1903.

Roisman, G., Fraley, R.C., Haltigan, J.D., Cauffman, E., & Booth-LaForce, C. (2016). Strategic
         considerations in the search for transactional processes: Detecting and quantifying transactional
         signals in longitudinal data. Development & Psychopathology, 28, 791-800.

Cauffman, E., Skeem, J., *Dmitrieva, J., & *Cavanagh, C. (2016). Comparing the stability of
        psychopathy scores in adolescence and adulthood: How often is "fledgling psychopathy"
        misdiagnosed? Psychology, Public Policy, and the Law, 22(1), 77-91.

*Fine, A., Cauffman, E., Steinberg, L. & Frick, P. (2016). Self-control assessments and implications for
           predicting adolescent offending. Journal of Youth & Adolescence, 45, 701-712.
  Case 1:24-cv-00496-JAO-WRP                Document 35-5         Filed 12/23/24       Page 38 of 76
                                             PageID.652                                        E. Cauffman
                                                                                                   Page 15


Amemiya, J., *Monahan, K. & Cauffman, E. (2016). Leaders and followers in juvenile offending:
        Distinguishing correlates and adjustment to incarceration. Criminal Justice and Behavior,
        43(7), 899-922.

*Tatar, J., *Cavanagh, C., & Cauffman, E. (2016). The importance of (anti)social influence in serious
            juvenile offenders with psychopathic traits. Psychology, Public Policy, and Law, 22(1), 92-
            104.

*Fine, A., *Cavanagh, C., *Donley, S., Frick, P., Steinberg, L. & Cauffman, E. (2016). The role of peer
           arrests on the development of youths’ attitudes towards the justice system. Law & Human
           Behavior. 40(2), 211-218.

Ray, J., Frick, P., Thornton, L., Steinberg, L., & Cauffman, E. (2016). Positive and negative item
           wording and its influence on the assessment of callous-unemotional traits. Psychological
           Assessment, 28(4), 394-404.

*Boessen, A. & Cauffman, E. (2016). Moving from the neighborhood to the cellblock: The impact of
         youth’s neighborhoods on prison misconduct. Crime & Delinquency, 62(2), 200-228.

Ray, J., Thornton, L., Frick, P., Steinberg, L., & Cauffman, E. (2016). Impulse control and callous-
           unemotional traits distinguish patterns of delinquency and substance use in justice involved
           adolescents: Examining the moderating role of neighborhood context. Journal of Abnormal
           Child Psychology, 44, 599-611.

*Fine, A. & Cauffman, E. (2015). Race and justice system attitude formation during the transition to
          adulthood. Journal of Developmental Life Course Criminology, 1, 325-349.

Racz, S., Saha, D., Trent, M., Hoover, A., Bradshaw, C., *Goldweber, A., & Cauffman, E. (2015).
           Polysubstance use among minority adolescent males incarcerated for serious offenses. Child
           and Youth Care Forum, 45(2), 205-220.

*Cavanagh, C. & Cauffman, E. (2015). Viewing law and order: Mothers' and sons' justice system
        legitimacy attitudes and juvenile recidivism. Psychology, Public Policy, and Law, 21(4), 432-
        441.

*Bechtold, J., *Monahan, K., Wakefield, S. & Cauffman, E. (2015). The role of race in probation
         monitoring and responses to probation violations among juvenile offenders in two jurisdictions.
         Psychology, Public Policy, and the Law, 21, 323-337.

Cauffman, E., *Monahan, K., & *Thomas, A. (2015). Pathways to persistence: Female offending from
        14 to 25. Journal of Developmental and Life Course Criminology, 1, 236-268.

Arndorfer, A., *Malloy, L., & Cauffman, E. (2015). Interrogations, confessions, and adolescent
          offenders’ perceptions of the legal system. Law & Human Behavior, 39, 503-513.

Thornton, L. Frick, P., *Shulman, E., Steinberg, L. & Cauffman, E. (2015) Callous-unemotional traits
          and adolescents’ role in group crime. Law & Human Behavior, 39, 368-377.
  Case 1:24-cv-00496-JAO-WRP              Document 35-5         Filed 12/23/24       Page 39 of 76
                                           PageID.653                                       E. Cauffman
                                                                                                Page 16


*Thomas, A., Monahan, K., Lukowski, A., & Cauffman, E. (2015). Sleep problems across
         development: A pathway to adolescent risk taking through working memory. Journal of Youth
         & Adolescence, 44, 447-464.

*Monahan, K. King, K., *Shulman, E., Chassin, L. & Cauffman, E. (2015). The effects of violence
        exposure on the development of impulse control and future orientation: Time specific and
        generalized effects. Development and Psychopathology, 27, 1267-1283.

*Cavanagh, C. & Cauffman, E. (2015). The land of the free: Undocumented families in the juvenile
        justice system. Law & Human Behavior, 39, 152-161.

*Monahan, K., VanDerhei, S., *Bechtold, J., & Cauffman, E. (2014). From the school yard to the squad
        car: School discipline, truancy, and arrest. Journal of Youth & Adolescence, 43, 1110-1122.

Tsang, S., Piquero, A., & Cauffman, E. (2014). An examination of the Psychopathy Checklist: Youth
           Version among male adolescent offenders: An item response theory analysis. Psychological
           Assessment, 26, 1333-1346.

*Thomas, A. & Cauffman, E. (2014). Youth sexting as child pornography: Developmental science
         supports less harsh sanctions for juvenile sexters. New Criminal Law Review, 17, 631-651.

*Bechtold, J., *Cavanagh, C., *Shulman, E. & Cauffman, E. (2014). Does mother know best?:
         Adolescent and mother report of impulsivity and subsequent delinquency. Journal of Youth &
         Adolescence, 43, 1903-1913.

*Kimonis, E., Fanti, K., *Goldweber, A., Marsee, M., Frick, P., & Cauffman, E. (2014). Callous-
         unemotional traits in incarcerated adolescents. Psychological Assessment, 26, 227-237.

*Goldweber, A., Cauffman, E., & Cillessen, T. (2014). Peer status among incarcerated female
        offenders: Associations with social behavior and adjustment. Journal of Research on
        Adolescence, 24, 720-733.

*Malloy, L., *Shulman, E., & Cauffman, E. (2014). Interrogations, confessions, and guilty pleas among
         serious adolescent offenders. Law & Human Behavior, 38, 181-193.

*Bechtold, J. & Cauffman, E. (2014). Tried as an adult, housed as a juvenile: A tale of youth from two
         courts incarcerated together. Law & Human Behavior, 38, 126-138.

*Shulman, E. & Cauffman, E. (2014). Deciding in the dark: Age differences in intuitive risk judgment.
         Developmental Psychology, 50, 167-177.

*Monahan, K., *Dmitrieva, J. & Cauffman, E. (2014). Bad romance: Gender differences in the
        longitudinal association between romantic relationships and deviant behavior. Journal of
        Research on Adolescence, 24, 12-26.

*Kaasa, S., Cauffman, E., Clarke-Stewart, A., & Loftus, E. (2013). False accusations in an investigative
          context: Differences between suggestible and non-suggestible witnesses. Behavioral Sciences
          & the Law, 31, 574-592.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5         Filed 12/23/24      Page 40 of 76
                                            PageID.654                                       E. Cauffman
                                                                                                 Page 17


*Shulman, E. & Cauffman, E. (2013). Reward based risk appraisal and its relation to juvenile versus
         adult crime. Law & Human Behavior, 412-423.

*Monahan, K. Steinberg, L., Cauffman, E., & Mulvey, E. (2013). Psychosocial (im)maturity from
        adolescence to early adulthood: Distinguishing between adolescence-limited and persisting
        antisocial behavior. Development & Psychopathology, 25, 1093-1105.

*Monahan, K., Steinberg, L. & Cauffman, E. (2013). Age differences in the impact of employment on
        antisocial behavior. Child Development, 84, 791-801.

Cauffman, E. (2012). Aligning justice system processing with developmental science. Criminology &
        Public Policy, 11, 751-758.

*Dmitrieva, J., *Monahan, K., Cauffman, E., & Steinberg, L. (2012). Arrested development: The
         effects of incarceration on adolescents’ development of psychosocial maturity. Development &
         Psychopathology, 24, 1073-1090.

Cauffman, E. & Steinberg, L. (2012). Emerging findings from adolescent development and juvenile
        justice. Victims & Offenders, 7, 428-449.

*Kimonis, E., *Tatar, J. & Cauffman, E. (2012). Substance related disorders among juvenile offenders:
         What role do psychopathic traits play? Psychology of Addictive Behaviors, 26, 212-225.

*Goldweber, A. & Cauffman, E. (2012). Relational aggression and the DSM-V: What can clinicians
        tell us? Journal of Forensic Psychology Practice, 12, 35-47.

*Kimonis, E., Frick, P., Cauffman, E., *Goldweber, A., & Skeem, J. (2012). Primary and secondary
         variants of juvenile psychopathy differ in emotional processing. Development &
         Psychopathology, 24, 1091-1103.

Spieker, S., Pierce, K., Campbell, S., Cauffman, E., Susman, E., Vandergrift, N., Roisman, G. & the
          NICHD Network. (2012). Relational aggression in middle childhood: Predictors and
          adolescent outcomes. Social Development, 21, 354-375.

*Monahan, K., *Meyer, K., *Goldweber, A., & Cauffman, E. (2012). Anxiety and antisocial behavior:
        The moderating role of the peer group in adolescence and early adulthood. Youth and Society,
        44, 76-94.

*Tatar, J., *Kaasa, S., & Cauffman, E. (2012). Perceptions of procedural justice among female
            offenders: Time does not heal all wounds. Psychology, Public Policy, & Law, 18, 268-296.

*Tatar, J., Cauffman, E., *Kimonis, E., & Skeem, J. (2012). Victimization history and Post-Traumatic
            Stress: An analysis of psychopathy variants in male juvenile offenders. Journal of Child &
            Adolescent Trauma, 5, 102-113.

*Shulman, E. & Cauffman, E. (2011). Coping while incarcerated: A study of male juvenile offenders?
         Journal of Research on Adolescence, 21, 818-826.
  Case 1:24-cv-00496-JAO-WRP                Document 35-5         Filed 12/23/24       Page 41 of 76
                                             PageID.655                                        E. Cauffman
                                                                                                   Page 18


Maslowsky, J., Buvinger, E., Keating, D., Steinberg, L., & Cauffman, E. (2011). Cost-benefit analysis
        mediation of the relationship between sensation seeking and risk behavior. Personality and
        Individual Differences, 51, 802-806.

*Kimonis, E., Ray, J., Branch, J., & Cauffman, E. (2011). Anger mediates the relation between
         violence exposure and violence perpetration in male juvenile offenders. Child & Youth Care
         Forum: Special Issue on Trauma Exposure and PTSD in Justice-Involved Youth, 40, 381-400.

*Shulman, E., Cauffman, E., Fagan, J. & Piquero, A. (2011). Moral disengagement among serious
         juvenile offenders: A longitudinal study of the relations between moral cognition and
         offending. Developmental Psychology, 47, 1619-1632.

*Monahan, K. C., *Goldweber, A., & Cauffman, E. (2011). The effects of visitation on incarcerated
        juvenile offenders: How contact with the outside impacts adjustment on the inside. Law &
        Human Behavior, 35, 143-151.

*Goldweber, A., Cauffman, E., *Dmitrieva, J., Piquero, A., & Steinberg, L. (2011). The development
      of criminal style in adolescence: Separating the lemmings from the loners. Journal of Youth &
      Adolescence, 40, 332-346.

*Kimonis, E., Skeem, J., & Cauffman, E., Dmitrieva, J. (2011). Are secondary variants of juvenile
         psychopathy more reactively violent and less psychosocially mature than primary variants?
         Law & Human Behavior, 35, 381-391.

Schubert, C., Mulvey, E., Loughran, T., Fagan, J., Chassin, L., Piquero, A., Losoya, S. Steinberg, L., &
          Cauffman, E. (2010). Predicting outcomes for youth transferred to adult court. Law &
          Human Behavior, 34, 460-475

Loughran, T., Mulvey, E., Schubert, C., Chassin, L., Steinberg, L., Piquero, A., Fagan, J., Cota-Robles,
         S., Cauffman, E., & Losoya, S. (2010). Differential effects of adult court transfer on juvenile
         offender recidivism. Law & Human Behavior, 34, 476-488

Schubert, C., Mulvey, E., Loughran, T., Fagan, J., Chassin, L., Piquero, A., Losoya, S. Steinberg, L., &
          Cauffman, E. (2010). Predicting outcomes for youth transferred to adult court. Law &
          Human Behavior, 34, 460-475

Roisman, G. I., *Monahan, K. C., Campbell, S., B., Steinberg, L., Cauffman, E., & the NICHD Early
         Child Care Research Network (2010). Is adolescence-onset antisocial behavior
         developmentally normative? Development & Psychopathology, 22, 295-311.

Chassin, L., *Dmitrieva, J., Modecki, K., Steinberg, L., Cauffman, E., Piquero, A., Knight, G., &
          Losoya, S. (2010). Does adolescent alcohol and marijuana use predict suppressed growth in
          psychosocial maturity? Psychology of Addictive Behaviors, 4, 48-60.

Cauffman, E., *Shulman, E., Steinberg, L., Claus, E., Banich, M., Woolard, J., & Graham,
        S. (2010). Age differences in sensitivity to the rewards and costs of a risky decision as
        indexed by performance on the Iowa gambling task. Developmental Psychology, 46, 193-207.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5          Filed 12/23/24       Page 42 of 76
                                            PageID.656                                        E. Cauffman
                                                                                                  Page 19


Mulvey, E., Steinberg, L., Piquero, A., Besana, M., Fagan, J., Schubert, C., & Cauffman, E. (2010).
         Trajectories of desistance and continuity in antisocial behavior following court adjudication
         among serious adolescent offenders. Development & Psychopathology, 22, 453-475.

Susman, L., Houts, R., Steinberg, L., Belsky, J., Cauffman, E., DeHart, G., Friedman, S., Roisman, G.,
         Halpern-Felsher, B., & the NICHD Early Child Care Research Network. (2010). Development
         of secondary sex characteristics in girls and boys ages 9 ½ to 15 ½. Archives of Pediatrics &
         Adolescent Medicine, 164, 166-173.

*Monahan, K., Steinberg, L. & Cauffman, E. (2009). Affiliation with antisocial peers, susceptibility to
        peer influence, and desistance from antisocial behavior during the transition to adulthood.
        Developmental Psychology, 45, 1520-1530.

Steinberg, L., Graham, S., O’Brien, L., Woolard, J., Cauffman, E. & Banich, M. (2009). Age
          differences in future orientation and delay discounting. Child Development, 80, 28-44.

Roisman, G., Booth-LaForce, C., Cauffman, E., & Spieker, S. & the NICHD Network. (2009). The
         developmental significance of adolescent romantic relationships: Parent and peer predictors of
         quality and engagement at age 15. Journal of Youth and Adolescence, 38, 1294-1303.

Steinberg, L., Cauffman, E., Woolard, J., Graham, S. & Banich, M. (2009). Are adolescents less mature
          than adults? Minors’ access to abortion, the juvenile death penalty, and the alleged APA “flip-
          flop”. American Psychologist, 64, 583-594.

Cauffman, E., *Kimonis, E., *Dmitrieva, J., *Monahan, K. (2009). A multi-method assessment of
        juvenile psychopathy: Comparing the predictive utility of the PCL:YV, YPI, and NEO-PRI.
        Psychological Assessment, 21, 528-542.

Steinberg, L., Cauffman, E., Woolard, J., Graham, S. & Banich, M. (2009). Reconciling the complexity
          of human development with the reality of legal policy: Reply to Fischer, Stein, & Heikkinen
          2009. American Psychologist, 64, 601-604.

*Monahan, K., Steinberg, L., Cauffman, E., & Mulvey, E. (2009). Trajectories of antisocial behavior
        and psychosocial maturity from adolescence to young adulthood. Developmental Psychology,
        45, 1654-1668.

Cauffman, E. (2008). Understanding the female offender. Future of Children, 18, 119-142.

Steinberg, L., Albert, D., Cauffman, E., Banich, M., Graham, S., & Woolard, J. (2008). Age differences
          in sensation seeking and impulsivity as indexed by behavior and self-report: Evidence for a
          dual systems model. Developmental Psychology, 44, 1764-1778.

Cauffman, E., *Farruggia, S. & *Goldweber, A. (2008). Bad boys or poor parents: Influences on
        female juvenile delinquency. Journal of Research on Adolescence, 18, 699-712.

*Jones, S. & Cauffman, E. (2008). Juvenile psychopathy and judicial decision-making: An empirical
           analysis of an ethical dilemma. Behavioral Sciences & the Law, 26, 151-165.
  Case 1:24-cv-00496-JAO-WRP                Document 35-5         Filed 12/23/24       Page 43 of 76
                                             PageID.657                                        E. Cauffman
                                                                                                   Page 20


Cauffman, E., Piquero, A., *Kimonis, E., Steinberg, L., Chassin, L., & Fagan, J. (2007). Legal,
        individual, and contextual predictors of court disposition in a sample of serious adolescent
        offenders. Law & Human Behavior, 31, 519-535.

*Jones, S., Cauffman, E., & Piquero, A. (2007). The influence of parental support among incarcerated
           adolescent offenders. Criminal Justice and Behavior, 34, 229-245.

Cauffman, E., Lexcen, F., *Goldweber, A., *Shulman, E. & Grisso, T. (2007). Gender differences in
        mental health symptoms among delinquent and community youths. Youth Violence and
        Juvenile Justice, 5, 287-307.

Belsky, J., Steinberg, L., Houts, R., Friedman, S., de Hart, G., Cauffman, E., Roisman, G., Halpern-
           Flesher, B. & Susman, L. (2007). Family and child care experiences and pubertal timing:
           Testing two evolutionary hypotheses. Child Development, 78, 1302-1321.

Steinberg, L, Blatt-Eisengart, I. & Cauffman, E. (2006). Patterns of competence and adjustment among
          adolescents from authoritative, authoritarian, indulgent, and neglectful homes: A replication in
          a sample of serious juvenile offenders. Journal of Research on Adolescence, 16, 47-58.

Cauffman, E. & MacIntosh, R. (2006). The measurement validity of the Massachusetts Youth
        Screening Instrument (MAYSI~2): An assessment of race and gender item bias among juvenile
        offenders. Educational & Psychological Measurement, 66, 502-521.

*Jones, S., Cauffman, E., Miller, J. & Mulvey, E. (2006). Investigating different factor structures of the
           Psychopathy Checklist – Youth Version: Confirmatory factor analytic findings. Psychological
           Assessment, 18, 33-48.

Cauffman, E., Steinberg, L., & Piquero, A. (2005). Psychological, neuropsychological, and
        psychophysiological correlates of serious antisocial behavior in adolescence. Criminology, 43,
        133-176.

Cauffman, E., Scholle, S., Mulvey, E., & Kelleher, K. (2005). Predicting first time involvement in the
        juvenile justice system among emotionally disturbed youths receiving mental health services.
        Psychological Services, 2, 28-38.

Cauffman, E., Piquero, A., Broidy, L., Espelage, D. & Mazerolle, P. (2004). Heterogeneity in the
        association between social-emotional adjustment profiles and deviant behavior among male
        and female serious juvenile offenders. International Journal of Offender Therapy and
        Comparative Criminology, 48, 235-252.

Schubert, C., Mulvey, E., Steinberg, L., Cauffman, E., Losoya, S., Hecker, T., Chassin, L. & Knight, G.
          (2004). Operational lessons from the pathways to desistance project. Journal of Youth
          Violence and Juvenile Justice, 2, 237-255.

Mulvey, E., Steinberg, L., Fagan, J., Cauffman, E., Piquero, A., Chassin, L., Knight, G., Brame, R.,
         Schubert, C., Hecker, T., & Losoya, S. (2004). Theory and research on desistance from
         antisocial activity among adolescent serious offenders. Journal of Youth Violence and Juvenile
         Justice, 2, 213-236.
  Case 1:24-cv-00496-JAO-WRP                Document 35-5         Filed 12/23/24        Page 44 of 76
                                             PageID.658                                        E. Cauffman
                                                                                                   Page 21


Jensen Arnett, L., Arnett Jensen, J., Feldman, S.S., & Cauffman, E. (2004). The right to do wrong:
         Lying to parents among adolescents and emerging adults. Journal of Adolescent Research, 33,
         101-112.

Cauffman, E. (2004). A statewide assessment of mental health symptoms among juvenile offenders in
        detention. Journal of the American Academy of Child & Adolescent Psychiatry, 43, 430-439.

Wasserman, G., McReynolds, L., Ko, S., Katz, L., Cauffman, E., Haxton, W., & Lucas, C. (2004).
        Screening for emergent risk and psychiatric disorder among incarcerated youth: Comparing
        MAYSI-2 and Voice DISC-IV. Journal of the American Academy of Child & Adolescent
        Psychiatry, 43, 629-639.

Grisso, T., Steinberg, L., Woolard, J., Cauffman, E., Scott, E., Graham, S., Lexcen, F., Reppucci, N., &
           Schwartz, R. (2003). Juveniles’ competence to stand trial: A comparison of adolescents’ and
           adults’ capacities as trial defendants. Law & Human Behavior, 27, 333-363.

Espelage, D., Cauffman, E., Broidy, L., Mazerolle, P., Piquero, A., & Steiner, H. (2003). A cluster-
          analytic investigation of MMPI profiles of serious male and female juvenile offenders. Journal
          of the American Academy of Child & Adolescent Psychiatry, 42, 770-777.

Wasserman, G., Jensen, P., Ko, S., Cocozza, J., Trupin, E., Angold, A., Cauffman, E., Grisso, T.,
        Arroyo, W., Bigley, M., Burrell, J., Faison, L., Fisher, P., Fricchione, G., Greenhill, L., Haxton,
        W., Hoagwood, K., Kelly, R., Koyanagi, C., Loughran, E., McReynolds, L., Mufson, L.,
        Quintana, D., Shapiro, L., Snyder, H., Stokes, T., Underwood, L., Wahl, R., & Waslick, B.
        (2003). Mental health assessments in juvenile justice: Report on the consensus conference.
        Journal of the American Academy of Child & Adolescent Psychiatry, 42, 752-761.

Skeem, J. & Cauffman. E. (2003). Views of the downward extension: Comparing the youth version of
          the Psychopathy Checklist with the Youth Psychopathic traits Inventory. Behavioral Sciences
          & the Law, 21, 737-770.

Broidy, L., Cauffman, E., Espelage, D., Mazerolle, P., & Piquero, A. (2003). Sex differences in empathy
          and its relation to juvenile offending. Violence & Victims, 18, 503-516.

Jensen Arnett, L., Arnett Jensen, J., Feldman, S.S., & Cauffman, E. (2002). It’s wrong, but everybody
         does it: Academic dishonesty among high school and college students. Contemporary
         Educational Psychology, 27, 209-228.

Edens, J., Skeem, J., Cruise, K., & Cauffman, E. (2001). The assessment of juvenile psychopathy and its
           association with violence: A critical review. Behavioral Sciences & the Law, 19, 53-80.

Halpern-Felsher, B. & Cauffman, E. (2001). Costs and benefits of a decision: Decision-making
         competence in adolescents and adults. Journal of Applied Developmental Psychology, 22, 257-
         273.

Grisso, T., Barnum, R., Fletcher, K., Cauffman, E., & Peuschold, D. (2001). Massachusetts Youth
           Screening Instrument for mental health needs of juvenile justice youths. Journal of the
           American Academy of Child & Adolescent Psychiatry, 40, 541-548.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5         Filed 12/23/24       Page 45 of 76
                                            PageID.659                                       E. Cauffman
                                                                                                 Page 22


Bushway, S., Piquero, A., Broidy, L., Cauffman, E. & Mazerolle, P. (2001). An empirical framework
         for studying desistance as a process. Criminology, 39, 491-513.

Mulvey, E. & Cauffman, E. (2001). The inherent limits of predicting school violence. American
         Psychologist, 56, 797-802. (Reprinted in: Roesch, R., & McLachlan, K. (Eds.) (2007). Clinical
         forensic psychology and law. Hampshire, UK: Ashgate.)

Feldman, S., Cauffman, E., Jensen, L., & Arnett, J. (2000). The (un)acceptability of betrayal: A study
         of late adolescents’ evaluations of sexual betrayal by a romantic partner and betrayal of a
         friend’s confidence. Journal of Youth & Adolescence, 29, 499-523.

Cauffman, E., Feldman, S., Jensen, L. & Arnett, J. (2000). The (un)acceptability of violence against
        peers and dates. Journal of Adolescent Research, 15, 652-673.

Cauffman, E. & Steinberg, L. (2000). (Im)maturity of judgment in adolescence: Why adolescents may
        be less culpable than adults. Behavioral Sciences & the Law, 18, 741-760.

Steiner, H., Cauffman, E., & Duxbury, E. (1999). Personality traits in juvenile delinquents: The relation
           to criminal behavior and recidivism. Journal of the American Academy of Child & Adolescent
           Psychiatry, 38, 256-262.

Feldman, S. & Cauffman, E. (1999). Your cheatin’ heart: Attitudes, behaviors, and correlates of sexual
         betrayal in late adolescents. Journal of Research on Adolescence, 9, 227-252.

Feldman, S. S., & Cauffman, E. (1999). Sexual betrayal among late adolescents: Perspectives of the
         perpetrator and the aggrieved. Journal of Youth and Adolescence, 28, 235-258.

Cauffman, E., Feldman, S., *Waterman, J. & Steiner, H. (1998). Posttraumatic stress disorder among
        incarcerated females. Journal of the American Academy of Child & Adolescent Psychiatry, 37,
        1209-1216.

Steiner, H. & Cauffman, E. (1998). Juvenile justice, delinquency, and psychiatry. Child & Adolescent
           Psychiatric Clinics of North America, 7, 653-672.

Steinberg, L. & Cauffman, E. (1996). Maturity of judgment in adolescence: Psychosocial factors in
          adolescent decision making. Law & Human Behavior, 20, 249-272.

Cauffman, E. & Steinberg, L. (1996). Interactive effects of puberty and dating on dieting and
        disordered eating among adolescent girls. Developmental Psychology, 32, 631-635. (Reprinted
        in: R. Muuss (Ed.), (1998). Adolescent behavior and society: A book of readings (5th edition).
        New York: McGraw-Hill.)

Steinberg, L. & Cauffman, E. (1995). The impact of employment on adolescent development. Annals
          of Child Development, 11, 131-166.

LAW REVIEW ARTICLES – PEER-REVIEWED

LR1 Cauffman, E., *Fine, A., *Mahler, A., & *Simmons, C. (2018). How developmental science
      influences juvenile justice reform. University of California, Irvine Law Review, 8, 101-120.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5          Filed 12/23/24       Page 46 of 76
                                            PageID.660                                        E. Cauffman
                                                                                                  Page 23


Steinberg, L. & Cauffman, E. (1999). The elephant in the courtroom: Developmental perspectives on
        the adjudication of youthful offenders. Virginia Journal of Social Policy & Law, 6, 389-417.

Cauffman, E., Woolard, J., & Reppucci, N. D. (1999). Justice for juveniles: New perspectives on
      adolescents’ competence and culpability. Quinnipiac Law Review, 18, 403-419.

Cauffman, E. & Steinberg, L. (1995). The cognitive and affective influences on adolescent decision-
              making. Temple Law Review, 68, 1763-1789.

 POLICY REPORTS – PEER-REVIEWED

*Cavanagh, C. & Cauffman, E. (in press). Contribution to cognitive development. Developing
      adolescents: A reference for professionals. Washington, DC: American Psychological
      Association.

Steinberg, L., Cauffman, E., & *Monahan, K. (March, 2015). Psychosocial maturity and desistance
        from crime in a sample of serious juvenile offenders. Juvenile Justice Bulletin - Office of
        Juvenile Justice and Delinquency Prevention.

Steinberg, L., Grisso, T., Woolard, J., Cauffman, E., Scott, E., Graham, S., Lexcen, F., Reppucci, N., &
        Schwartz, R. (2003). Juveniles’ competence to stand trial as adults. Society for Research in Child
        Development Policy Report, 17 (4).

Steinberg, L. & Cauffman, E. (2001). Adolescents as adults in court: A developmental perspective on
        the transfer of juveniles to the criminal court. Society for Research in Child Development Policy
        Report, 15, 3-13.

Steinberg, L., & Cauffman, E. (1999). Juvenile offenders: Judging their competence to stand trial.
        Criminal Justice Journal, Winter, 24-29.

Steinberg, L. & Cauffman, E. (1999). A developmental perspective on serious juvenile crime: When
        should juveniles be treated as adults? Federal Probation, 63, 52-57.

ENCYCLOPEDIA ENTRIES

*Gillespie, M., *Goldweber, A. & Cauffman, E. (2022). Co-offending. In: Levesque, R.J. (eds)
   Encyclopedia of Adolescence. Springer, Cham. https://doi.org/10.1007/978-3-319-32132-5_401-2

*Goldweber, A., & Cauffman, E. (2012). The nature of co-offending during adolescence. Encyclopedia
   of Adolescence. Springer, Inc.

Cauffman, E. (2008). Juvenile offenders: Risk factors. In B. Cutler (Ed.). Encyclopedia of Psychology
      and Law. Sage Publications, Inc

Steinberg, L., & Cauffman, E. (2006). Juvenile justice. In L. Sherrod, C. Flanagan, R. Kassimir, & A.
        Syvertsen (Eds.). Youth activism: An international encyclopedia (Vol 1.) pp. 369-374. Westport,
        CT: Greenwood
  Case 1:24-cv-00496-JAO-WRP              Document 35-5         Filed 12/23/24       Page 47 of 76
                                           PageID.661                                       E. Cauffman
                                                                                                Page 24


 CONFERENCE PROCEEDINGS PAPERS – PEER- REVIEWED

Cauffman, E. (2004). The adolescent brain: Excuse versus explanation. Annals of the New York
      Academy of Sciences, 1021, 160-161.

BOOKS

*Bechtold, J. & Cauffman, E. (2010). Adolescence: An instructor’s manual to accompany Steinberg’s
   Adolescence, 9th ed. McGraw-Hill, Inc.: New York.

*Davis, E. & Cauffman, E. (2008). Adolescence: An instructor’s manual to accompany Steinberg’s
   Adolescence, 8th ed. McGraw-Hill, Inc.: New York.

Cauffman, E. (1998). Adolescence: An instructor’s manual to accompany Steinberg’s Adolescence, 5th
   ed. McGraw-Hill, Inc.: New York.

 BOOK CHAPTERS

*Sbeglia, C., *Beardslee, J., & Cauffman, E. (2023). Adolescent Development and Justice; Bridging
   Science with Practice: How should the legal system respond to juveniles charged with homicide? A
   developmental perspective. In The Routledge International Handbook of Juvenile Homicide (pp. 519-
   531): Routledge.

*Gillespie, M.L., *Riano, N., & Cauffman, E. (2023). Transitioning to Adulthood in the Legal System:
   The Creation of Young Adult Courts. In The Oxford Handbook of Developmental Psychology and the
   Law (pp. 423-448). Oxford University Press.

*Brown, C., *Fine, A., & Cauffman, E. (2023). Youth and the justice system. In L. J. Crockett, G. Carlo,
   & J. E. Schulenberg (Eds.), APA handbook of adolescent and young adult development., 665–676.
   American Psychological Association.

*Cavanagh, C. & Cauffman, E. (2019). Parenting and the law. In. M. Bortstein (Ed.), Handbook of
   Parenting (3rd Edition, pages 465-490). Hoboken, NJ: Wiley.

Cauffman, E., *Cavanagh, C., *Donley, S., & *Thomas, A. (2016). A developmental perspective on
   adolescent risk-taking and criminal behavior. In A. Piquero (Ed.), Handbook of Criminological
   Theory (pp. 100-120). Hoboken, NJ: Wiley. (Authors are listed alphabetically as all authors
   contributed equally.)

Cauffman, E., *Shulman, E. P, *Bechtold, J., & Steinberg, L. (2015). Children and the law. In M.
   Bornstein, T. Leventhal, & R. Lerner (Eds.), Handbook of child psychology and developmental
   science (7th ed., Vol. 4). Hoboken, NJ: Wiley.

*Goldweber, A., Broidy, L. & Cauffman, E. (2009). Interdisciplinary perspectives on persistent female
   offending: A review of theory and research. In J. Savage (Ed.), Persistent Criminals (pp. 205-231).
   Oxford Press.

Cauffman, E. & Woolard, J. (2005). Crime, competence, and culpability: Adolescent judgment in the
   justice system. In J. Jacobs and P. Klaczynski (Eds.), The development of judgment and decision
   making in children and adolescents (pp. 279-301). Chicago, Lawrence Erlbaum, Inc.
  Case 1:24-cv-00496-JAO-WRP                Document 35-5          Filed 12/23/24       Page 48 of 76
                                             PageID.662                                         E. Cauffman
                                                                                                    Page 25



Cauffman, E. & Grisso, T. (2005). Mental health issues among minority offenders in the juvenile
   justice system. In D. Hawkins and K. Leonard (Eds.), Our children, their children: Confronting race
   and ethnic differences in American criminal justice. Chicago: University of Chicago Press.

Cauffman, E. & Steinberg, L. (2000). Researching adolescents' judgment and culpability (pp. 325-343).
   In T. Grisso and R. Schwartz (Eds.), Youth on trial. Chicago: University of Chicago Press.

Steinberg, L. & Cauffman, E. (2000). Developmental perspectives on jurisdictional boundary. In J.
    Fagan and F. Zimring (Eds.), The changing borders of juvenile justice: Transfer of adolescents to the
    criminal court. Chicago: University of Chicago Press.


INVITED ADDRESSES

Cauffman, E. (October, 2024). Insights on adolescent development for compassionate care. Presentation to
  the Orange County Prevention Network, Santa Ana, CA.

Cauffman, E. (September, 2024). Adolescent brain development in juvenile justice involved youth. Keynote
  Address to Project Kinship. Anaheim, CA.

Cauffman, E. (September, 2024). Adolescent brain development in juvenile justice involved youth. Keynote
  Address to Court Appointed Special Advocates (CASA). Santa Ana, CA.

Cauffman, E. (August, 2024). The Young Adult Court. Presentation to the Orange County Bar Association.
  Santa Ana, CA.

Cauffman, E. (June, 2024). Adolescent development and substance use. Presentation to the Orange County
  Juvenile Recovery Court. Orange County, CA.

Cauffman, E. (June, 2024). Adolescent development and juvenile justice. Presentation to the National
  Council of Juvenile Court Judges. Salem, OR.

Cauffman, E. (April, 2024). Reimagining justice: Using developmental science to inform legal policy and
  practice. Presidential address to the Society for Research on Adolescence. Chicago, IL.

Cauffman, E. (February, 2024). Guidance on sentencing juveniles. United States Sentencing Commission.
  Washington, DC.

Cauffman, E. (January, 2024). Understanding your adolescent. Presentation to the Parent-Teacher
  Association, University High School. Irvine, CA.

Cauffman, E. (November, 2023). Adolescent development and juvenile justice. Presentation to the National
  Council of Juvenile Court Judges. Albuquerque, NM.

Cauffman, E. (November, 2023). Adolescent development and juvenile justice. Training Presentation to the
  Center for Judicial Education and Research, Judicial Council of California.

Cauffman, E. (November, 2023). Adolescent development and juvenile justice. Presentation to CCJA.
  Case 1:24-cv-00496-JAO-WRP                 Document 35-5           Filed 12/23/24        Page 49 of 76
                                              PageID.663                                           E. Cauffman
                                                                                                       Page 26


Cauffman, E. (October, 2023). Adolescent development and juvenile justice. Presentation to Georgetown.

Cauffman, E. (August, 2023). Adolescent development and juvenile justice. Presentation to the Society for
  Research on Adolescence Summer School. Finland.

Cauffman, E. (August, 2023). Adolescent development and juvenile justice. Presentation to the National
  Council of State Legislators. Indianapolis, IN.

Cauffman, E. (July, 2023). Are adolescents wired for addiction? Adolescent development and substance use.
  Safe Schools Conference. Orange County, CA.

Cauffman, E. (June, 2023). Juvenile brain development and marijuana. Orange County Judges. Orange
  County, CA.

Cauffman, E. (June, 2023). Immigration law and the child migrant: Adolescent development and judicial
  decision-making. Orange County Lawyers Association. Orange County, CA.

Cauffman, E. (June, 2023). Adolescent development and juvenile justice. Training Presentation to the Center
  for Judicial Education and Research, Judicial Council of California.

Cauffman, E. (May, 2023). Standing at a crossroads. Presentation at the National Institute of Justice.
  Washington, DC.

Cauffman, E. (April, 2023). Adolescent development and juvenile justice. Presentation to Justice
  Professionals, Sioux Falls, South Dakota.

Cauffman, E. (April, 2023). Road to re-entry. Presentation to the National Institute of Justice National
  Webinar.

Cauffman, E. (March, 2023). Adolescent development and juvenile justice. Training Presentation to the
  Center for Judicial Education and Research, Judicial Council of California.

Cauffman, E. (January, 2023). Adolescent development and juvenile justice. Presentation to the California
  Public Defenders Association Youth Defense Conference.

Cauffman, E. (June, 2022). Adolescent development and juvenile justice. Presentation to the California
  Association of Youth Courts.

Cauffman, E. (June, 2022). The Promise of Adolescence: Summary of the National Academies Report.
  Presentation to the Spencer Foundation and the Stuart Foundation.

Cauffman, E. (November, 2020). Pathways to persistence: Female offending from ages 14 to 25. Presentation
  to the International Symposium on Girls in Conflict with the Law. Hosted by Dui Hua and the San
  Francisco Public Defender’s Office.

Cauffman, E. (November, 2020). Adolescent development and juvenile justice. Training Presentation to the
  Center for Judicial Education and Research, Judicial Council of California.

Cauffman, E. (October, 2020). Adolescent development and juvenile justice. Webinar presentation to the
  Pennsylvania Juvenile Justice Task Force. Hosted by Pew Charitable Trusts.
  Case 1:24-cv-00496-JAO-WRP                Document 35-5          Filed 12/23/24       Page 50 of 76
                                             PageID.664                                         E. Cauffman
                                                                                                    Page 27



Cauffman, E. (September, 2020). Ask the expert: What adolescents need from education right now. Society
  for Research on Adolescence Webinar.

Cauffman, E. (May, 2020). The promise of adolescence. National Academy of Sciences webinar presentation.

Cauffman, E. (March, 2020). Adolescent development and juvenile justice. Presentation at the University of
  Pennsylvania, Philadelphia, PA.

Cauffman, E. (January, 2020). The promise of adolescence. National Academy of Sciences webinar
  presentation.

Cauffman, E. (December, 2019). Adolescent development and juvenile justice. Training Presentation to the
  Center for Judicial Education and Research, Judicial Council of California, Sacramento, CA

Cauffman, E. (November, 2019). Arrested development: Adolescent development and juvenile justice.
   Keynote and Inaugural Isaac Ray Address to Grand Rounds at Northwestern University, Chicago, IL

Cauffman, E. (November, 2019). Arrested development: Adolescent development and juvenile justice. Invited
   Address to Youth Villages Conference, Memphis, TN

Cauffman, E. (October, 2019). Emerging practices: Young Adult Court - Transitional age youth (ages 18-
   25) in the justice system. Invited address to UCI Interdisciplinary Research Showcase & Workshop,
   Irvine, CA

Cauffman, E. (October, 2019). Developmental psychology goes to court: The creation of a Young Adult
   Court. Invited address to the California Association of Collaborative Courts Annual Conference,
   Sacramento, CA

Cauffman, E. (October, 2019). Arrested development: Adolescent development and juvenile justice. Invited
   Address to the MST Network Partner Conference, Atlanta, GA

Cauffman, E. (September, 2019). Arrested development: Adolescent development and juvenile justice. Invited
  Address to the National Council of State Legislators, Tahoe, CA

Cauffman, E. (August, 2019). The promise of adolescence. Invited Address to the UC Consortium on
  Adolescence, Los Angeles, CA

Cauffman, E. (June, 2019). Arrested development: Adolescent development and juvenile justice. Invited
  Address to the Kentucky Legal Council, Owensboro, KY

Cauffman, E. (June, 2019). The promise of adolescence. Invited Address to the Great City Schools
  Organization, San Diego, CA

Cauffman, E. (May, 2019). Young Adult Court. Invited Address to UC Center Sacramento, Sacramento, CA

Cauffman, E. (May, 2019). Developing a Young Adult Court in Orange County. Invited Address to Families
  and Communities Together, Garden Grove, CA.

Cauffman, E. (May, 2019). Arrested development: Adolescent development and juvenile justice. Invited
  Case 1:24-cv-00496-JAO-WRP                 Document 35-5          Filed 12/23/24        Page 51 of 76
                                              PageID.665                                          E. Cauffman
                                                                                                      Page 28


   Address to the Promising Youth Conference, Snowbird, UT

Cauffman, E. (May, 2019). Arrested development: Adolescent development and juvenile justice. Invited
  Address to the Santa Fe Boys Educational Foundation, Santa Fe, NM

Cauffman, E. (February, 2019). Adolescent development and juvenile justice. Training Presentation to the
  Center for Judicial Education and Research, Judicial Council of California, San Francisco, CA

Cauffman, E. (June, 2018). Young adults and the justice system. Keynote address to the Intergovernmental
  Policy Agency, San Francisco, CA.

Cauffman, E. (May, 2018). Adolescent development and juvenile justice. Keynote address to the
  Undergraduate Research Opportunities Program at the University of California, Irvine. Irvine, CA.

Cauffman, E. (November, 2017). Adolescent development and juvenile justice. Invited address to Youth
  Villages, Memphis, TN.

Cauffman, E. (October, 2017). Adolescent development and juvenile justice. Training Presentation to the
  Center for Judicial Education and Research, Judicial Council of California, San Francisco, CA

Cauffman, E. (June, 2017). Adolescent development and juvenile justice. Invited Address to the National
  Council of State Legislators, Newport Beach, CA

Cauffman, E. (May, 2017). What was she thinking?: The adolescent brain, incentives, and implications for
  program development. Keynote to the World Bank. Washington, DC.

Cauffman, E. (April, 2017). Current trends in justice system policy and practice. Invited Address to the
  MacArthur Foundation at the Boundary of Adolescence and Adulthood Conference, Washington, DC.

Cauffman, E. (April, 2017). Science to guide policy and practice. Invited Address to the Center for Juvenile
  Justice Reform LEAD Conference, Georgetown University, Georgetown, DC.

Cauffman, E. (February, 2017). Adolescent development and juvenile justice. Training Presentation to the
  Center for Judicial Education and Research, Judicial Council of California, Sacramento, CA

Cauffman, E. (September, 2016). Hard lives, bright futures: Why brain science matters when working with
  vulnerable older youth. Keynote Address to the John T. Gorman Foundation. Portland, ME.

Cauffman, E. (August, 2016). What science suggests about how changing arrest and jailing of young adults
  could benefit cities. Invited Address to the National League of Cities: Leadership Academy to Reduce the
  Overuse of Jails for Young Adults. Denver, CO.

Cauffman, E. (June, 2016). Adolescent development & juvenile justice. Invited Address to the Center on
  Youth Violence and Juvenile Justice, Rutgers University, Newark, NJ.

Cauffman, E. (May, 2016). Arrested development: Adolescent development and juvenile justice. Invited
  address at the Colorado Collaborative Justice Conference, Westminster, CO.

Cauffman, E. (May, 2016). California corrections: Reform, recidivism, and crime. Robert Presley Center for
  Crime and Justice Studies, University of California, Riverside, CA.
  Case 1:24-cv-00496-JAO-WRP                 Document 35-5          Filed 12/23/24        Page 52 of 76
                                              PageID.666                                         E. Cauffman
                                                                                                     Page 29



Cauffman, E. (April, 2016). Inside the adolescent brain: Connecting providers with researchers. Keynote
  address to the Sacramento County Probation Department, Sacramento, CA.

Cauffman, E. (April, 2016). Adolescent brain science & juvenile justice. Keynote address to the Reclaiming
  Futures Conference, Miami, FL.

Cauffman, E. (March, 2016). Developmental psychology goes to court. Presentation to the Judicial Council of
  California, San Francisco, CA.

Cauffman, E. (February, 2016). Arrested development: Adolescent development & juvenile justice.
  Presentation to Anne E. Casey Foundation, Baltimore, MD.

Cauffman, E. (February, 2016). Raising the age for juvenile justice. Presentation to Connecticut State
  Legislatures Meeting, Hartford, CT.

Cauffman. E. (February, 2016). A developmental perspective: “What works” to reduce recidivism and
  improve outcomes for youth. MacArthur Foundation 50-State Forum, Austin, TX.

Cauffman, E. (January, 2016). Juvenile court basics training for educators. Orange County Department of
  Education, Santa Ana, CA.

Cauffman, E. (January, 2016). Applying adolescent development to juvenile justice settings. Training for
  CASA, Santa Ana, CA.

Cauffman, E. (December, 2015). The rise of trauma-informed approaches. 10th Annual Models for Change
  National Conference, Washington, DC.

Cauffman, E. (December, 2015). A tale of two systems: Education and juvenile justice. Annual Meeting
  on Conditions of Children in Orange County. Irvine, CA.

Cauffman, E. (December, 2015). Arrested development: Adolescent development and juvenile justice.
  Beyond the Bench – State of California, Anaheim, CA.

Cauffman, E. (November, 2015). Who are our youth?: Acting out. Orange County Juvenile Justice
  Summit. Orange County Sheriff’s Regional Training Center, Tustin, CA.

Cauffman, E. (November, 2015). “What works” to reduce recidivism and improve outcomes for youth.
  Juvenile Justice 50-state Forum, Austin, TX.

Cauffman, E. (October, 2015). Arrested development: Adolescent development & juvenile justice. UC
  Consortium on Social Sciences and the Law. University of California, Irvine, CA.

Cauffman, E. (October, 2015). Adolescent development and the law. TEDxUCI – UCI’s Festival of
  Discovery. University of California, Irvine, CA

Cauffman, E. (September, 2015). Brain science and kids: New policy approaches. National Council of
  State Legislators Meeting, San Francisco, CA.

Cauffman, E. (September, 2015). Youth and the system. Orange County Alliance, Santa Ana, CA.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5         Filed 12/23/24       Page 53 of 76
                                            PageID.667                                       E. Cauffman
                                                                                                 Page 30



Cauffman, E. (September, 2015). Adolescent brain development and the juvenile justice system. Sierra
  Health Foundation, Sacramento, CA.

Cauffman, E. (April, 2015). Adolescent development and system-involved youth. Orange County Blue
  Ribbon Commission on Children in Foster Care, Orange County, CA.

Cauffman, E. (May, 2014). Not guilty by reason of adolescence. Presentation at the UCI CEO
  Roundtable. Napa, CA.

Cauffman. E. (April, 2014). Arrested development. Presentation at the Los Angeles Public Defenders
  Conference. Los Angeles, CA.

Cauffman, E. (August, 2013). Brain Science & Kids. Presentation at the National Conference of State
  Legislatures. Atlanta, GA.

Cauffman, E. (March, 2013). Adolescents as adults in court. Presentation to the Washington State
  Criminal Justice and Corrections Committee and the Juvenile Justice and Family Law Committee.
  Seattle, WA.

Cauffman, E. (December, 2012). A new paradigm: The United States Supreme Court, adolescent
  development, and neuroscience. Invited panelist for the John D. & Catherine T. MacArthur
  Foundation Models for Change Initiative. Washington, D.C.

Cauffman, E. (November, 2012). Arrested development: Adolescent development and juvenile justice.
  Presentation to the Department of Criminology at the University of Pennsylvania. Philadelphia, PA.

Cauffman, E. (October, 2012). Family law & adolescents: How neuroscience and developmental
  psychology inform best interests. Keynote address to the Massachusetts Association of Guardians ad
  Litem. Boston, MA.

Cauffman, E. (April, 2012). Arrested development: Adolescent development and juvenile justice.
  Presentation for the Knudson Endowed Chair. Oregon State University, OR.

Cauffman, E. (January, 2012). The impact of transfer to criminal court for juvenile offenders. Invited
  briefing to Washington State’s Senate Committee on Early Learning & Human Services. Olympia,
  WA.

Cauffman, E. (October, 2011). Pathways to Desistance: A Study of Serious Juvenile Offenders.
   Presentation at the Association for Criminal Justice Research. Huntington Beach, CA

Cauffman, E. (May, 2011). Adolescent brain development and juvenile justice. Presentation at the
   Sandra Day O’Connor U.S. Courthouse. Phoenix, AZ.

Cauffman, E. (February, 2011). Arrested Development. Presentation at Claremont McKenna College
   Athenaeum. Claremont, CA.

Cauffman, E. (October, 2010). Adolescent development & juvenile justice. Presentation at RAND. Los
   Angeles, CA.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5         Filed 12/23/24       Page 54 of 76
                                            PageID.668                                       E. Cauffman
                                                                                                 Page 31


Cauffman, E. (September, 2010). Pathways to female delinquency. Presentation at the John D. &
  Catherine T. MacArthur Foundation research meeting on Girls and Juvenile Justice. Chicago, IL.

Cauffman, E. (August, 2010). The effects of visitation on incarcerated juvenile offenders. Presentation
   at the American Psychological Association. San Diego, CA.

Cauffman, E. (August, 2010). Adolescent development as a mitigating factor. Presentation to the
  Orange County Public Defender’s Office. Orange County, CA.

Cauffman, E. (July, 2010). Adolescent development as a mitigating factor. Presentation for the Office of
  Public Advocacy. Anchorage, Alaska.

Cauffman, E. (June, 2010). Arrested development. Presentation at the NICHD Cognition, Brain
   Function, and Learning in Incarcerated Youth. Washington, DC.

Cauffman, E. (April, 2010). Adolescent development and juvenile justice. Presentation at Beijing
  Normal University. Beijing, China.

Cauffman, E. (February, 2009). Adolescents as adults in court. Presentation to the Washington State
  Criminal Justice and Corrections Committee and the Juvenile Justice and Family Law Committee.
  Seattle, WA.

Cauffman, E. (January, 2009). Adolescents as adults in court. American Academy of Forensic
  Psychology Workshop. Albuquerque, NM.

Cauffman, E. (August, 2007). Adolescent development. Presentation to Santa Ana Unified School
  District - Lathrop Intermediate. Santa Ana, CA.

Cauffman, E. (June, 2007). Assessing mental health using the MAYSI~2. Presentation to the San
  Bernardino Probation Department. Monterey County, CA.

Cauffman, E. (June, 2007). Mental health and juvenile justice. Invited briefing to the United States
  Senate Judiciary Committee. Washington, DC.

Cauffman, E. (June, 2007). Understanding the serious female offender. Presentation to the Coalition for
  Juvenile Justice Annual Conference. Washington, DC.

Cauffman, E. (April, 2007). Life without the possibility of parole: Developmental considerations.
  Invited briefing to the California Senate’s Public Safety Committee on the Juvenile Life Without
  Parole Reform Act (Senate Bill 999). Sacramento, CA.

Cauffman, E. (April, 2007). Are adolescents different from adults? Biological, social, and cognitive
  considerations. Presentation to the Los Angeles Public Defenders Office – Juvenile Justice
  Conference. Los Angeles, CA.

Cauffman, E. (March, 2007). Developmental psychology goes to court. Psychology Department at the
   University of California, Santa Barbara. Santa Barbara, CA.

Cauffman, E. (February, 2007). Adolescents as adults in court. American Academy of Forensic
  Psychology Workshop. Albuquerque, NM.
 Case 1:24-cv-00496-JAO-WRP               Document 35-5        Filed 12/23/24       Page 55 of 76
                                           PageID.669                                       E. Cauffman
                                                                                                Page 32



Cauffman, E. (February, 2007). Assessing mental health using the MAYSI~2. Presentation to the San
  Bernardino Probation Department. San Bernardino, CA.

Cauffman, E. (December, 2006). Adolescents as adults in court. Presentation to the Washington State
  Criminal Justice and Corrections Committee and the Juvenile Justice and Family Law Committee.
  Seattle, WA.

Cauffman, E. & Skeem, J. (September, 2006). Juvenile psychopathy: Is there such a thing as an
  adolescent superpredator? Presentation at the John D. and Catherine T. MacArthur Foundation
  Research Network Conference on Adolescent Development and Juvenile Justice. Washington, DC.

Cauffman, E. (September, 2006). Pathways to desistance: Who is the female offender? Presentation at
  the John D. and Catherine T. MacArthur Foundation Research Network Conference on Adolescent
  Development and Juvenile Justice. Washington, DC.

Cauffman, E. (June, 2006). Adolescents as adults in court. American Academy of Forensic Psychology
  Workshop. San Juan, Puerto Rico.

Cauffman, E. & Shulman, L. (May, 2006). The MAYSI~2: California statewide screening. Presentation
  to the County Alcohol and Drug Program Administrators Association of California, Sacramento, CA.

Cauffman, E. & Skeem, J. (March, 2006). The downward extension of juvenile psychopathy.
   Psychology Department at the University of California, Riverside. Riverside, CA.

Cauffman, E. (January, 2006). Juvenile adjudicative competence: A minor misunderstanding. Grand
   Rounds for the Division of Child & Adolescent Psychiatry in the Department of Psychiatry at the
   University of California, Los Angeles. Los Angeles, CA.

Cauffman, E. & Skeem, J. (May, 2005). Assessing juvenile psychopathy: Developmental and legal
   implications. Center on Adolescence at Stanford University. Stanford, CA.

Cauffman, E. & Skeem, J. (January, 2005). The adolescent psychopath: Fact or fiction? Psychology
   Department at the University of California, Los Angeles. Los Angeles, CA.

Cauffman, E. (November, 2004). Juvenile Justice and Adult Corrections. Chapin Hall Conference on
   Adolescence and the Transition to Adulthood. University of Chicago, Chicago, IL.

Cauffman, E. (July, 2004). Sentencing juveniles as adults: Developmental implications and
   psychological evaluations. Superior Court Judges of Georgia. St. Simons Island, GA.

Cauffman, E. (July, 2004). Pathways to Desistance: Preliminary findings from a longitudinal study on
   serious adolescent offenders. Juvenile Court Judges Commission. Harrisburg, PA.

Cauffman, E. (September, 2003). The adolescent brain: Excuse versus explanation. Annals of the New
   York Academy of Sciences. New York, NY.

Cauffman, E. (March, 2003). Juveniles’ competence to stand trial: a comparison of adolescents and
  adults capacities as trial defendants. Social and Decision Sciences Department at Carnegie Mellon
  University, Pittsburgh, PA.
  Case 1:24-cv-00496-JAO-WRP              Document 35-5         Filed 12/23/24       Page 56 of 76
                                           PageID.670                                       E. Cauffman
                                                                                                Page 33



Cauffman, E. (November, 2002). A statewide assessment of mental health symptoms among juvenile
  offenders in detention. Prevention Research Center at Penn State University, State College, PA.

Cauffman, E. (September, 2002). Assessing mental health problems among youth in the juvenile justice
  system. Senior Vice Chancellor’s Research Seminar Series, University of Pittsburgh Medical Center,
  Pittsburgh, PA.

Cauffman, E. (June, 2002). Adolescent development and juvenile justice. Philadelphia Juvenile Court,
  Philadelphia, PA.

Cauffman, E. (June, 2002). (Im)maturity of judgment: Psychosocial development and decision-making
  during adolescence. Youth Tobacco Research Meeting sponsored by the National Cancer Institute,
  Tampa, FL.

Cauffman, E. (April 2002). What are the components of a good psychiatric assessment? Columbia
  University Consensus Conference on Implementing and Utilizing Mental Health Assessments in the
  Juvenile Justice System, New York, NY.

Cauffman, E. (December, 2001). Mental health issues among juvenile offenders: Definition, Assessment
  & Treatment. Mental Health Training Initiative sponsored by the Bureau of State Children & Youth
  Programs, Pittsburgh, PA.

Cauffman, E. (November, 2001). Adolescent development and juvenile justice. Journalism Fellowships
  Conference in Child & Family Policy, Washington, DC.

Cauffman, E. (November, 2001). Kids are different: Adolescent development and the juvenile justice
  system. Annual Meeting of the Juvenile Court Judges Commission, Harrisburg, PA.

Cauffman, E. (October, 2001). Assessing mental health symptoms via the MAYSI~2. Annual Meeting of
  the National Detention Centers Association, Pittsburgh, PA.

Cauffman, E. (October, 2001). Kids in court: Developmental considerations. Annual Meeting of the
  American Judges Association, Reno, NV.

Cauffman, E. (July, 2001). How to use knowledge of adolescent development and mental health
   assessments in court decision-making. Annual Meeting of the Pennsylvania Conference of State Trial
   Judges, Hershey, PA.

Cauffman, E. (July, 2001). Mental health issues among adolescents. Inter-Agency Council on Violence,
  Alcohol, & Weapons in the School: Pittsburgh Board of Education, Pittsburgh, PA.

Cauffman, E. (February, 2001). When does adolescence end?: Adolescents as adults in court. Depaul
  Law School Symposium, Chicago, IL.

Cauffman, E. (January, 2001). Children as adults in court. Resource Committee Meeting for the
   National Judicial College, Orlando, FL.

Cauffman, E. (July, 2000). Youth on trial: Developmental perspectives on juvenile justice. Criminal
   Justice Section of the American Bar Association, New York, NY.
  Case 1:24-cv-00496-JAO-WRP              Document 35-5         Filed 12/23/24       Page 57 of 76
                                           PageID.671                                       E. Cauffman
                                                                                                Page 34



Cauffman, E. (January, 2000). The elephant in the courtroom: Developmental and mental health issues
   among juvenile offenders. 1999-2000 Lecture Series Sponsored by Western Psychiatric Institute and
   Clinic, Pittsburgh, PA.

Cauffman, E. (April, 1999). Children as adults in court. Resource Committee Meeting for the National
   Judicial College, Reno, NV.

Cauffman, E. (February, 1999). Gender and violence. Keynote Address to the Safe Schools and
   Communities Coalition, Hartford, CT.

Cauffman, E. (June, 1998). Understanding the female offender: Developmental and mental health
   considerations. Department of Juvenile Justice, Tallahassee, FL.

Cauffman, E. (June, 1998). Adolescent development and the juvenile justice system. Juvenile Court
   Personnel Training Project. Sponsored by the MacArthur Foundation, Oakland, CA.

Cauffman, E. (May, 1998). Gender considerations for violent youth tried as adults. National Workshop
   on Violent Youth Tried as Adults. Department of Justice, Houston, TX.

Cauffman, E. (January, 1998). Understanding adolescents as decision-makers: What are the cognitive
   capacities of adolescents? Workshop on Adolescent Decision-Making: National Research Council’s
   Board on Children, Youth, and Families, Washington, DC.

Cauffman, E. (November, 1997). Criminal accountability among adolescents: A developmental
   perspective. Developmental Colloquium: University of California, Santa Cruz, CA.

Cauffman, E. (November, 1997). Do you have an at-risk kid? Parent Talk: Community Cable
   Television, Palo Alto, CA.

Cauffman, E. (April, 1997). Legal implications of maturity and mental health in adolescence. Los
   Angeles Public Defenders Conference, Los Angeles, CA.

Cauffman, E. (December, 1996). Breaking the cycle of violence: A developmental approach. Rotary
   Club of Woodside, Portola Valley, CA.

Cauffman, E. (July, 1996). Adolescent development and its impact on the law: What do lawyers need to
   know? Youth Law Center, San Francisco, CA.


PROFESSIONAL PRESENTATIONS

Briones, A., Beardslee, J., & Cauffman, E. (March, 2024). The association between exposure to violence
        and substance use: The mediating role of depression. Poster presented at the annual meeting of
        the American Psychology-Law Society, Los Angeles, CA.

Cauffman, E., Davis, F., Williams, T., & Hernandez, M. (March, 2024). The creation of a Young Adult
      Court: A new approach to justice. Presentation given at the annual meeting of the American-
      Psychology Law Society, Philadelphia, PA.
  Case 1:24-cv-00496-JAO-WRP                 Document 35-5          Filed 12/23/24       Page 58 of 76
                                              PageID.672                                         E. Cauffman
                                                                                                     Page 35


Cauffman, E., Gillespie, M.L., Davis, F., Hernandez, M., & Williams, T. (January, 2024). PSPI Live:
      Developmental Science Research Informs Juvenile Justice Reform. Live Webinar hosted by the
      Association for Psychological Science.

Cho, S., & Cauffman, E. (April, 2024). The predictive utility of adolescent psychopathic traits on
        subsequent offending. Poster presented at the annual meeting of the Society for Research on
        Adolescence, Chicago, IL.

Cho, S., & Cauffman, E. (March, 2024). The predictive utility of youth psychopathic traits on adult
        psychopathy and offending. Paper presented at the annual meeting of the American Psychology-
        Law Society, Los Angeles, CA.

Elhaj, D., Hernandez, E. Fessinger, M., Beardslee, J. & Cauffman, E. (March, 2024). The moderating
        effect of psychopathic traits on the relationship between exposure to violence and aggressive
        offending. Poster presented at the annual meeting of the American Psychology-Law Society, Los
        Angeles, CA.

Elhaj, D., Hernandez, J., Rojas, C., Ibraheam, M., Rodgers, E., & Cauffman, E. (April, 2024). Early life
        adversity, psychopathic traits, and suicidal ideation in justice involved youth. Poster presented at
        the annual meeting of the Western Psychological Association, in San Francisco, CA.

Fessinger, M., & Cauffman, E. (April, 2024). Pleas help: Who is giving advice and what advice are they
       giving when juveniles plead to their first offense? Poster presented at the annual meeting of the
       Society for Research on Adolescence, Chicago, IL.

Gillespie, M.L., Beardslee, J., Kan, E., Wasserman, A., Riano, N., & Cauffman, E. (April, 2024). Under
        the Influence of Maternal Hostility: Examining the Interplay of Substance Use, Mental Health
        Problems, and Parenting in Justice-Involved Youth Over Five Years. Paper presented at the
        Society for Research on Adolescence Meeting, Chicago, IL.

Gillespie, M., Beardslee, J., Kan, E., Wasserman, A., Riano, N., & Cauffman, E. (March, 2024). Under
        the influence of maternal hostility: Examining the interplay of substance use, mental health
        problems, and parenting in justice-involved youth over five years. Paper symposium presented at
        the annual meeting of the American Psychology-Law Society, Los Angeles, CA.

Guevara, B., Dawood, M., Hernandez, E., Vermeersch, E., Randolph, I., & Cauffman, E. (April, 2024).
       Examining the impact of arrests on somatizing symptoms for justice involved youth. Poster
       presented at the annual meeting of the Western Psychological Association, in San Francisco, CA.

Healey, L., Fessinger, M., Gillespie, M., Beardslee, J., Schiffman, J., & Cauffman, E. (June,
        2024). Attenuated Psychosis in Incarcerated Young Men: Presentation, Prevalence and
        Implications for the Mental Health and Justice Systems. Paper presented at the International
        Association of Forensic Mental Health Services Annual Conference, San Francisco, CA.

Hellgren, J., Randolph, I., Fine, A., Beardslee, J., & Cauffman, E. (March, 2024). The role of perceptions
        of police on youths’ emotional distress. Paper presented at the annual meeting of the American
        Psychology-Law Society, Los Angeles, CA.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5          Filed 12/23/24       Page 59 of 76
                                            PageID.673                                        E. Cauffman
                                                                                                  Page 36


Hernandez, J., & Cauffman, E. (April, 2024). The influence of social support and institutional climate on
       mental health after release: Discovering how perception shapes our reality. Poster presented at
       the annual meeting of the Western Psychological Association, in San Francisco, CA.

Hernandez, J., Randolph, R., Beardslee, J., & Cauffman, E. (March, 2024). The association of youth
       connections to detention staff with depression and anxiety outcomes post-release. Poster
       presented at the annual meeting of the American Psychology-Law Society, Los Angeles, CA.

Longino, G., Smith IV, C., & Cauffman, E. (March, 2024). The aggressive consequences of not caring
       enough: Patterns of aggression in youth with callous-unemotional traits. Poster presented at the
       annual meeting of the American Psychology-Law Society, Los Angeles, CA.

Martinez, L., Sodkomkum, T., Vallelunga, D. Verduzco-Villa, T., Cho, S., & Cauffman, E. (April, 2024).
       Callous-unemotional trait predict external blame attribution for a crime in male youth offenders.
       Poster presented at the annual meeting of the Western Psychological Association, in San
       Francisco, CA.

McGoldrick, N., Sbeglia, C., Wyckoff, L., & Cauffman, E. (March, 2024). Predictors of teenage
      fatherhood among justice-involved adolescents. Paper presented at the annual meeting of the
      American Psychology-Law Society, Los Angeles, CA.

Randolph, I., Hellgren, J., Beardslee, J., & Cauffman, E. (March, 2024). Racial and ethnic differences in
       associations between legal cynicism and mental health. Paper presented at the annual meeting of
       the American Psychology-Law Society, Los Angeles, CA.

Riano, N., Rodgers, E., Smith IV, C., Beardslee, J., & Cauffman, E. (April, 2024). Peers, parents, and
        perceptions: The impact of parental alcoholism on peer influenced alcohol use among justice-
        impacted adolescents. Poster presented at the annual meeting of the Western Psychological
        Association, in San Francisco, CA.

Riano, N., Rodgers, E., Smith IV, C., Beardslee, J., & Cauffman, E. (March, 2024). Peers, parents, and
        perceptions: The impact of parental alcoholism on peer influenced alcohol usen among justice-
        impacted adolescents. Poster presented at the annual meeting of the American Psychology-Law
        Society, Los Angeles, CA.

Rodgers, E., & Cauffman, E. (April, 2024). Associations between adverse childhood experiences (ACEs)
       and two measures of psychopathic traits in justice involved adolescents. Poster presented at the
       annual meeting of the Society for Research on Adolescence, Chicago, IL.

Rodgers, E., Gillespie, M.L., Cho, S., & Cauffman, E. (May, 2024). Early Life Adversity Predicts
       Behavioral and Social Components of Psychopathy in Justice-Involved Adolescents. Poster
       presented at the Society for the Scientific Study of Psychopathy Biennial Meeting, Paphos,
       Cyprus.

Sbeglia, C., & Cauffman, E. (April, 2024). Settling down or acting up? How becoming a father impacts
        offending behavior among justice-involved youth. Paper symposium presented at the annual
        meeting of the Society for Research on Adolescence, Chicago, IL.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5          Filed 12/23/24       Page 60 of 76
                                            PageID.674                                        E. Cauffman
                                                                                                  Page 37


Smith IV, C., & Cauffman, E. (April, 2024). Realizing or internalizing? The aspiration-expectation’s
       gap’s association with depression and anxiety. Poster presented at the annual meeting of the
       Society for Research on Adolescence, Chicago, IL.

Smith IV, C., Beardslee, J., & Cauffman, E. (March, 2024). Realizing and externalizing: The aspiration-
       expectation gap and overt aggression in justice-involved youth. Paper presented at the annual
       meeting of the American Psychology-Law Society, Los Angeles, CA.

Smith IV, C., Riano, N., Randolph, I., Beardslee, J., & Cauffman, E. (March, 2024). The health benefits
       of romantic partnerships for justice-involved young adults. Paper presented at the annual meeting
       of the American Psychology-Law Society, Los Angeles, CA.

Sodkomkum, T., Smith IV, C., Beardslee, J., & Cauffman, E. (March, 2024). Negatively perceived police
      encounters predict callous-unemotional traits in adolescents. Poster presented at the annual
      meeting of the American Psychology-Law Society, Los Angeles, CA.

Briones, A., Coronado, K., Fulton, L., Beardslee, J., & Cauffman, E. (April, 2023). Predictors of teenage
        fatherhood among justice involved youth. Poster presented at the annual meeting of the Western
        Psychological Association, in Riverside, CA.

Cauffman, E., Frick, P.J., & Steinberg, L. (November, 2023). Delinquency and crime from adolescence
      through young adulthood: The Crossroads Study. Presentation given at the annual meeting of the
      American Society of Criminology, in Philadelphia, PA.

Cauffman, E., Beardslee, J., & Gillespie, M. (November, 2023). A new approach to justice: The creation
      of a Young Adult Court. Presentation given at the annual meeting of the American Society of
      Criminology, in Philadelphia, PA.

Cho, S., Sbeglia, C., & Cauffman, E. (March, 2023). Who’s to blame when youth violently offend? Paper
        presented at the annual meeting of the American Psychology-Law Society, Philadelphia, PA.

Gillespie, M.L. & Cauffman, E. (April, 2023). Programming Targeting Adolescent Development in a Jail
        Setting: The Road to Reentry Study. Paper presented as a Flash Talk at the Society for Research
        on Adolescence Biennial Meeting, San Diego, CA.

Gillespie, M., & Cauffman, E. (March, 2023). Transitional aged-youth transitioning out: Developmental
        and trauma-informed jail programming from year one of the Road to Reentry Study. Paper
        presented at the annual meeting of the American Psychology-Law Society, Philadelphia, PA.

Goetz, C., Frick, P.J., Thornton, L.C., Ray, J.V., Robertson, E.L., Myers, T.W., Steinberg, S., &
        Cauffman, E. (March, 2023). Effects of neighborhood disadvantage and peer deviance on
        conduct problems: Interactions with age-of-onset. Paper presented at the annual meeting of the
        American Psychology-Law Society, Philadelphia, PA.

Hong Dinh, N.C., McGrath, F., Dawood, M., Brown, C., & Cauffman, E. (April, 2023). Depression and
      future offending in juveniles: search for the missing link. Poster presented at the annual meeting
      of the Western Psychological Association, in Riverside, CA.

Kemp, E.C., Ray, J.V., Frick. P.J., Speck, J.S., Thornton, L.C., Steinberg, L., & Cauffman, E. (March
       2023). The inventory of callous-unemotional traits (ICU): Factor structure and measurement
  Case 1:24-cv-00496-JAO-WRP                Document 35-5          Filed 12/23/24       Page 61 of 76
                                             PageID.675                                         E. Cauffman
                                                                                                    Page 38


        invariance in a sample of justice-involved male adolescents. Paper presented at the annual
        meeting of the American Psychology-Law Society, Philadelphia, PA.

McGrath, F., Randolph, I., Cauffman, E., & Beardslee, J. (April, 2023). Police, trauma, and mental
      health: The tale of two encounters. Poster presented at the annual meeting of the Western
      Psychological Association, in Riverside, CA.

Randolph, I., Beardslee, J., Steinberg, L., Frick, P.J., & Cauffman, E. (March, 2023). Impact of familial
       arret on procedural justice perspectives of justice involved adolescents. Paper presented at the
       annual meeting of the American Psychology-Law Society, Philadelphia, PA.

Rodgers, E., Beardslee, J., & Cauffman, E. (March, 2023). Untangling factors influencing adolescent
       callousness: Justice system involvement and parental relationship quality. Paper presented at the
       annual meeting of the American Psychology-Law Society, Philadelphia, PA.

Sbeglia, C., Beardslee, J., Frick, P.J., Steinberg, L.S., & Cauffman, E. (March, 2023). Perceived sleep
        quality predicts aggressive offending in adolescence and young adulthood. Paper presented at the
        annual meeting of the American Psychology-Law Society, Philadelphia, PA.

Sbeglia, C., Smith IV., C. & Cauffman, E. (March, 2023). Environmental sensitivity may buffer the effects
        of violence exposure for justice-involved youth. Paper presented at the annual meeting of the
        American Psychology-Law Society, Philadelphia, PA.

Smith IV, C., Simmons, C., Rodgers, E., & Cauffman, E. (March, 2023). Examining associations between
       perceived thrill of crime and temperamental, behavioral, and environmental risk factors. Paper
       presented at the annual meeting of the American Psychology-Law Society, Philadelphia, PA.

Sodkomkum, T., Alvarez, V., Morris, M., Rodgers, E., & Cauffman, E. (April, 2023). Dimensions of
      callous-unemotional traits and their differential influences no romantic relationships. Poster
      presented at the annual meeting of the Western Psychological Association, in Riverside, CA.

Speck, J.S., Frick, P.J., Kemp, E.C., Vaughan, E., Walker, T., Robertson, E., Ray, J.V., & Cauffman, E.
        (March, 2023). Health service utilization and conduct problems: The role of callous-unemotional
        traits and juvenile justice system processing. Paper presented at the annual meeting of the
        American Psychology-Law Society, Philadelphia, PA.

Suh, E., Houser, J., Longino, G., Perez, M., Cho, S., Beardslee, J., & Cauffman, E. (April, 2023). An
        examination of the association between head injuries and subsequent psychopathic traits and
        offending during adolescence and early young adulthood. Poster presented at the annual meeting
        of the Western Psychological Association, in Riverside, CA.

Vaughan, E., Frick, P.J., Speck, J.S., Walker, T., Robertson, E., Myers, T.W., Ray., J.V., & Cauffman, E.
      (March, 2023). Callous-unemotional traits and adult antisocial outcomes: The predictive utility
      of growth models of callous-unemotional traits during adolescence. Paper presented at the annual
      meeting of the American Psychology-Law Society, Philadelphia, PA.

Walker, T., Robertson, E., Frick, P.J., Ray, J.V., Thornton, L.C., Myers, T.W., & Cauffman, E. (March,
       2023). Exploring the influence of potential moderators on the relationship between
       discrimination and criminal behavior. Paper presented at the annual meeting of the American
       Psychology-Law Society, Philadelphia, PA.
  Case 1:24-cv-00496-JAO-WRP                Document 35-5         Filed 12/23/24        Page 62 of 76
                                             PageID.676                                        E. Cauffman
                                                                                                   Page 39



Wong, T., Rolf, A., Advincula, H., Kirkland, Z., Randolph, I., Riano, N., & Cauffman, E. (April, 2023).
       Differential outcomes of substance use treatment referrals based on levels of police contact.
       Poster presented at the annual meeting of the Western Psychological Association, in Riverside,
       CA.

Wyckoff, L., McGoldrick, N., Brown, C., & Cauffman, E. (April, 2023). Predictors of teenage
      fatherhood among justice involved youth. Poster presented at the annual meeting of the Western
      Psychological Association, in Riverside, CA.

Cauffman, E. (June, 2022). Young adult courts as an innovative approach to justice. Presentation to the
   Center for Evidence-Based Crime Policy, Washington, DC.

Cauffman, E. (November, 2019). Young adult offenders: A call for research. Roundtable presentation at
   the annual meeting of the American Society of Criminology, San Francisco, CA

Cauffman, E. (May, 2019). The promise of adolescence. Paper symposium presented at the annual
   meeting of the Society for Prevention Research, San Francisco, CA

Kemp, E.C., Robertson, E.L., Walker, T.M., Frick, P.J., Ray, J.V., Thornton, L.C., Myers, T.D.W.,
   Steinberg, L., & Cauffman, E. (May, 2019). Associations between Callous-Unemotional Traits and
   Gun Use in a Longitudinal Study of Justice-Involved Youth. Poster presented at the biennial
   conference of the Society for the Scientific Study of Psychopathy (SSSP), Las Vegas, NV.

Brown, C., Fine, A., & Cauffman, E. (March, 2019). Can the cycle be broken? The protective role of
   correctional staff on youth violence. Paper symposium presented to the American Psychology-Law
   Conference, Portland, OR.

Donley, S., Fine, A., Simmons, C., & Cauffman, E. (April, 2017). Environmental sensitivity among
   juvenile offenders: Do some offenders benefit from a positive home environment more than others?
   Paper presented at the biannual meeting of the Society for Research in Child Development, Austin,
   TX.

Cavanagh, C. & Cauffman, E. (April, 2017). Changes in the mother-son relationship and youth offending
   trajectories. Paper presented at the biannual meeting of the Society for Research in Child
   Development, Austin, TX.

Fine, A., Mahler, A., Steinberg, L., Frick, P., & Cauffman, E. (April, 2017). The role of individual
    differences on the association between contexts and adolescent delinquency. Paper presented at the
    biannual meeting of the Society for Research in Child Development, Austin, TX.

Mahler, A., Rinehart, J., Frick, P., Steinberg, L., & Cauffman, E. (April, 2017). Sexual health behaviors
   among juvenile delinquents: Social factors predicting condom use status. Poster presented at the
   biannual meeting of the Society for Research in Child Development, Austin, TX.

Simmons, C., Frick, P., Steinberg, L. & Cauffman, E. (April, 2017). Bidirectional effects of callous-
   unemotional traits and negative parenting. Poster presented at the biannual meeting of the Society
   for Research in Child Development, Austin, TX.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5         Filed 12/23/24       Page 63 of 76
                                            PageID.677                                        E. Cauffman
                                                                                                  Page 40


Fine, A. & Cauffman, E. (March, 2017). Justice system attitudes, self-regulation, and adolescent
    offenders. Paper presented at the annual meeting of the American Psychology – Law Society.
    Seattle, WA.

Beyer, A., Robertson, E., Frick, P., Myers, T., Ray, J., Thornton, L., Steinberg, L., & Cauffman, E.
   (March, 2017). Primary and secondary variants of callous-unemotional traits: Relations with type
   and severity of aggression. Poster presented at the annual meeting of the American Psychology –
   Law Society. Seattle, WA.

Fine, A., Cavanagh, C., Donley, S., Frick, P., Steinberg, L. & Cauffman, E. (March, 2017). Youths’
    justice system attitudes, race, and recidivism. Paper presented at the annual meeting of the American
    Psychology – Law Society. Seattle, WA.

Cavanagh, C. & Cauffman, E. (March, 2017). Family justice system attitudes following a first arrest.
   Paper presented at the annual meeting of the American Psychology – Law Society. Seattle, WA.

Cauffman. E. Fine, A., Cavanagh, C., Steinberg, L., & Frick, P. (April, 2016). Justice system processing
   and substance use among first time juvenile offenders. Paper presented at the biennial meeting of the
   Society for Research on Adolescence. Baltimore, MD.

Mahler, A., Cauffman, E., Frick, P., & Steinberg, L. (April, 2016). Expectations for future success
   among adolescent first time offenders. Paper presented at the biennial meeting of the Society for
   Research on Adolescence. Baltimore, MD.

Cavanagh, C. & Cauffman, E. (April, 2016). Mothers’ and sons’ expectations for the future. Paper
   presented at the biennial meeting of the Society for Research on Adolescence. Baltimore, MD.

Cauffman, E., Fine, A., Thomas, A., & Monahan, K. (April, 2016). Trajectories of violent behavior
   among females. Paper presented at the biennial meeting of the Society for Research on Adolescence.
   Baltimore, MD.

Kan, E., Elias, H., Donley, S., & Cauffman, E. (March, 2016). Extracurricular activities on probation
   violation among juvenile first time offenders. Poster presented at the annual meeting of the American
   Psychology – Law Society. Atlanta, GA..

Cauffman. E., Fine, A., Cavanagh, C., Donley, S., Frick, P., & Steinberg, L. (March, 2016). The role of
   peer arrests on the development of youths’ attitudes towards the justice system. Paper presented at
   the annual meeting of the American Psychology – Law Society. Atlanta, GA.

Bechtold, J. & Cauffman, E. (March, 2015). Under the radar or under arrest: How does contact with the
   justice system affect subsequent arrest? Paper presented at the annual meeting of the American
   Psychology – Law Society. San Diego, CA.

Cauffman, E., Bechtold, J., Frick, P. & Steinberg, L. (March, 2015). Crossroads: Formal vs. informal
   processing of juvenile offenders. Paper presented at the annual meeting of the American Psychology
   – Law Society. San Diego, CA.

Thomas, A. & Cauffman, E. (March, 2015). Depression and reoffending among serious delinquents
   across seven years. Paper presented at the biennial meeting of the Society for Research in Child
   Development. Philadelphia, PA.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5          Filed 12/23/24       Page 64 of 76
                                            PageID.678                                        E. Cauffman
                                                                                                  Page 41



Fine, A. & Cauffman, E. (March, 2015). Schools, impulsivity, and implications for adolescent offending.
    Poster presented at the biennial meeting of the Society for Research in Child Development.
    Philadelphia, PA.

Fine, A., Cauffman, E., Steinberg, L. & Frick, P. (March, 2015). Impulsivity assessments and
    implications for predicting adolescent offending. Paper presented at the biennial meeting of the
    Society for Research in Child Development. Philadelphia, PA.

Cavanagh, C. & Cauffman, E. (November, 2014). The transition to adulthood among youth tried as
   adults: Findings from the Pathways to Desistance study. Paper presented at the annual meeting of
   the American Society of Criminology. San Francisco, CA.

Cauffman, E., Donley, S., Bechtold, J., & Steinberg, L. (November, 2014). Sensation seeking among at-
   risk adolescents: Findings from the Crossroads study. Paper presented at the annual meeting of the
   American Society of Criminology. San Francisco, CA.

Cavanagh, C. & Cauffman, E. (March, 2014). Undocumented families in the juvenile justice system.
   Paper presented at the biannual meeting of the Society for Research on Adolescence. Austin, TX.

Thomas, A., Monahan, K., Lukowski, A., & Cauffman, E. (March, 2014). Sleep problems across
   development. A pathways to adolescent risk-taking through executive function. Paper presented at
   the biannual meeting of the Society for Research on Adolescence. Austin, TX.

Cauffman, E., Monahan, K., & Thomas, A. (March, 2014). Juvenile justice girls. Paper presented at the
   biannual meeting of the Society for Research on Adolescence. Austin, TX.

Cavanagh, C. & Cauffman, E. (March, 2014). Familial arrests and relationships: Implications for
   serious youth offenders. Paper presented at the biannual meeting of the Society for Research on
   Adolescence. Austin, TX.

Thornton, L., Ray, J., Frick, P., Steinberg, L., Cauffman, E. (March, 2014). Neighborhood
   disorganization moderates the association between self-reported offending and two dispositional risk
   factors: Callous-unemotional traits and impulse control. Paper presented at the annual meeting of
   the American Psychology – Law Society. New Orleans, LA.

Cauffman, E., Monahan, K., & Thomas, A. (March, 2014). Pathways to persistence: Female offending
   from 14 to 25. Paper presented at the annual meeting of the American Psychology – Law Society.
   New Orleans, LA.

Thomas, A., Cauffman, E., Steinberg, L. & Frick, P. (March, 2014). “I didn't do It”: Examining first-
   time juvenile offenders' false guilty pleas. Paper presented at the annual meeting of the American
   Psychology – Law Society. New Orleans, LA.

Donley, S;., Bechtold, J., & Cauffman, E. (March, 2014). Pathways to sensation seeking among first-
   time juvenile offenders. Paper presented at the annual meeting of the American Psychology – Law
   Society. New Orleans, LA.

Wall, T., Frick, P., Thornton, L., Ray, J., Cauffman, E., & Steinberg, L. (March, 2014). Impulse control
   moderates the association between CU traits and delinquency and aggression in a sample of first-
  Case 1:24-cv-00496-JAO-WRP               Document 35-5         Filed 12/23/24       Page 65 of 76
                                            PageID.679                                        E. Cauffman
                                                                                                  Page 42


    time offending boys. Paper presented at the annual meeting of the American Psychology – Law
    Society. New Orleans, LA.

Tatar, J., Skeem, J. & Cauffman, E. (March, 2014). Psychopathic trait instability in the transition to
    adulthood: Impact of psychopathology and adversity. Paper presented at the annual meeting of the
    American Psychology – Law Society. New Orleans, LA.

Ray, J., Frick, P., Thornton, L., Steinberg, L., & Cauffman, E. (March, 2014). An item response theory
   analysis of the Inventory of Callous-Unemotional traits. Paper presented at the annual meeting of the
   American Psychology – Law Society. New Orleans, LA.

Shulman, E. & Cauffman, E. (April, 2013). Deciding in the dark: Age differences in intuitive risk
   judgment. Paper presented at the biannual meeting of the Society for Research in Child
   Development. Seattle, Washington.

Cauffman, E., Frick, P., & Steinberg, L. (April, 2013). Family matters: Taking stock of school discipline
   and arrest. Paper presented at the biannual meeting of the Society for Research in Child
   Development. Seattle, Washington.

Cavanagh, C. & Cauffman, E. (April, 2013). Mothers’ and sons’ attitudes toward the justice system and
   implications for delinquency. Paper presented at the biannual meeting of the Society for Research in
   Child Development. Seattle, Washington.

Thomas, A. & Cauffman, E. (April, 2013). A gene-by-environment approach to adolescent substance
   use: Examining the D4 dopamine gene (DRD4). Paper presented at the biannual meeting of the
   Society for Research in Child Development. Seattle, Washington.

Monahan, K. & Cauffman, E. (April, 2013). Familial and peer influences on self-control and
  psychopathology. Paper presented at the biannual meeting of the Society for Research in Child
  Development. Seattle, Washington.

Tsang, S., Cauffman, E., & Piquero, A. (March, 2013). An item response theory analysis of the
   Psychopathy Checklist: Youth Version among male adolescent offenders. Paper presented at the
   annual meeting of the American Psychology – Law Society. Portland, Oregon.

Thornton, L., Frick, P., Ray, J., Cauffman, E., & Steinberg, L. (March, 2013). Adolescents with callous
   unemotional traits and their roles in group crime and non-detected offending. Paper presented at the
   annual meeting of the American Psychology – Law Society. Portland, Oregon.

Ray, J., Frick, P., Thornton, L. Cauffman, E., & Steinberg, L. (March, 2013). Callous-unemotional traits
   distinguish subgroups of offenders among a sample of justice involved males: A latent class analysis.
   Paper presented at the annual meeting of the American Psychology – Law Society. Portland, Oregon.

Arndorfer, A., Malloy, L., & Cauffman, E. (March, 2013). False confession and interrogation
   experiences influence adolescent offenders’ perceptions of procedural justice. Paper presented at the
   annual meeting of the American Psychology – Law Society. Portland, Oregon.

Malloy, L., Shulman, E., & Cauffman, E., (March, 2013). True and false confessions to police: Self-
   reported experiences of serious adolescent offenders. Paper presented at the annual meeting of the
   American Psychology – Law Society. Portland, Oregon.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5          Filed 12/23/24       Page 66 of 76
                                            PageID.680                                        E. Cauffman
                                                                                                  Page 43



Donley, S., Boessen, A., & Cauffman, E. (March, 2013). When do parents matter? Parental practices
   and neighborhood conditions as predictors of juvenile offenders’ attitudes. Paper presented at the
   annual meeting of the American Psychology – Law Society. Portland, Oregon.

Thomas, A., Cauffman, E., Frick, P. & Steinberg, L. (March, 2013). Effects of probation officer
   monitoring on juvenile reoffending: Influence of justice system attitudes. Paper presented at the
   annual meeting of the American Psychology – Law Society. Portland, Oregon.

Cavanagh, C., Cauffman, E., Frick, P. & Steinberg, L. (March, 2013). Like mother, like son: Attitudes
   and antisocial behavior. Paper presented at the annual meeting of the American Psychology – Law
   Society. Portland, Oregon.

Kimonis, E.R., Lougran, T., Fanti, K., & Cauffman, E. (February, 2012). Trajectories of violent offending
   among variants of juvenile psychopathy. Paper presented at the SRCD Themed Meeting on
   Developmental Methodology, Tampa, FL.

Spieker, S., Campbell, S., Vandergrift, N., Pierce, K., Cauffman, E., Susman, E., Roisman, G. & the
    NICHD Early Child Care Research Network. (April, 2011). Relational aggression in middle
    childhood: Early childhood antecedents and adolescent sequelae. Poster presented at the biannual
    meeting of the Society for Research in Child Development. Montreal, Canada.

Bechtold, J. & Cauffman, E. (April, 2011). The behaviors of young offenders on probation. Paper
   presented at the biannual meeting of the Society for Research in Child Development. Montreal,
   Canada.

Monahan, K., Cauffman, E., & Steinberg, L. (April, 2011). Developmental differences in impulse
  control and antisocial behavior from adolescence to early adulthood. Paper presented at the biannual
  meeting of the Society for Research in Child Development. Montreal, Canada.

Cauffman, E., Houts, R., Monahan, K. & Cox, M. (April, 2011). Cascading towards adolescence: The
   development of psychosocial maturity and risk behavior. Paper presented at the biannual meeting of
   the Society for Research in Child Development. Montreal, Canada.

Goldweber, A., Monahan, K., & Cauffman, E. (March, 2011). Investigating the impact of developmental
   and neurological factors on adolescent offenders’ future orientation and delinquency. Paper
   presented at the annual meeting of the American Psychology – Law Society Conference. Miami, FL.

Ray, J., Kimonis, E., Branch, J., & Cauffman, E. (March, 2011). Anger mediates the relation between
   violence exposure and violence perpetration in incarcerated boys. Paper presented at the annual
   meeting of the American Psychology – Law Society Conference. Miami, FL.

Tatar, J., Malnove, A., Hadinata, N., Velasquez, E., & Cauffman, E. (March, 2011). The effect of
    psychopathy on the relation between social context and offending. Paper presented at the annual
    meeting of the American Psychology – Law Society Conference. Miami, FL.

Goldweber, A. & Cauffman, E. (March, 2011). The social networks of female offenders. Paper
   presented at the annual meeting of the American Psychology – Law Society Conference. Miami, FL.

Becthold, J. & Cauffman, E. (March, 2011). The behaviors of young offenders on probation. Paper
  Case 1:24-cv-00496-JAO-WRP               Document 35-5         Filed 12/23/24       Page 67 of 76
                                            PageID.681                                        E. Cauffman
                                                                                                  Page 44


    presented at the annual meeting of the American Psychology – Law Society Conference. Miami, FL.

Shulman, E., Kalder, A., & Cauffman, E. (August, 2010). The significance of school bonding in
   scholastic and non-scholastic settings. Paper presented at the annual meeting of the American
   Psychological Association. San Diego, CA (Recipient of best graduate student symposium award)

Ho, A., Shiley, D., Rich, J., Kalder, A., & Cauffman, E. (August, 2010). Maltreatment among juvenile
    offenders. Poster presented at the annual meeting of the American Psychological Association. San
    Diego, CA.

Ryan, J., Araujo, V., Martinez, J., Boessen, A., & Cauffman, E. (August, 2010). Assessing neighborhood
   effects on educational outcomes. Poster presented at the annual meeting of the American
   Psychological Association. San Diego, CA

Hadinata, N., Malnove, A., Valasquez, E., Tatar, J. & Cauffman, E. (August, 2010). Social influences
   mediating effect between psychopathy and offending behavior. Poster presented at the annual
   meeting of the American Psychological Association. San Diego, CA

Kalder, A., Bechtold, J., Shulman, E. & Cauffman, E. (March, 2010). For their own good: Perceived
   coerciveness of treatment for juvenile offenders. Paper presented at the annual meeting of the
   American Psychology – Law Society, Vancouver, Canada.

Kelly, E. & Cauffman, E. (March, 2010). When research and clinical assessments disagree:
    Prospectively predicting juveniles’ adjustment to incarceration. Paper presented at the annual
    meeting of the American Psychology – Law Society, Vancouver, Canada.

Goldeweber, A. & Cauffman, E. (March, 2010). Unique aggression profiles and their relation to
   maladjustment in a secure facility. Paper presented at the annual meeting of the American
   Psychology – Law Society, Vancouver, Canada.

Bechtold, J. & Cauffman, E. (March, 2010). Juvenile court youths and adult court youths incarcerated
   together: Who offends more? Paper presented at the annual meeting of the American Psychology –
   Law Society, Vancouver, Canada.

Goldeweber, A. & Cauffman, E. (March, 2010). Relational aggression and anxiety among incarcerated,
   serious female offenders: What can staff/clinicians tell us? Paper presented at the annual meeting of
   the American Psychology – Law Society, Vancouver, Canada.

Shulman, E. & Cauffman, E. (March, 2010). Adolescents' resistance to peer influence: Does it modulate
   family-based effects on externalizing behavior? Paper presented at the biennial meeting of the
   Society for Research on Adolescence, Philadelphia, PA.

Kelly, E. & Cauffman, E. (March, 2010). Perceptions of stigma among incarcerated youth. Paper
    presented at the biennial meeting of the Society for Research on Adolescence, Philadelphia, PA.

Dmitreiva, J., Cauffman, E., Waugh, M., & Espel, E. (March, 2010). Anxiety and delinquency: Exploring
  high comorbidity. Paper presented at the biennial meeting of the Society for Research on
  Adolescence, Philadelphia, PA.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5          Filed 12/23/24       Page 68 of 76
                                            PageID.682                                        E. Cauffman
                                                                                                  Page 45


Cauffman, E., Boessen, A., Hipp, J., Fagan, J. & Steinberg, L. (March, 2010). The impact of residential
   instability on juvenile offending. Paper presented at the biennial meeting of the Society for Research
   on Adolescence, Philadelphia, PA.

Shulman, E. & Cauffman, E. (March, 2010). The maturity disparity between offenders and non-
   offenders--Does it change with age. Paper presented at the biennial meeting of the Society for
   Research on Adolescence, Philadelphia, PA.

Bechtold, J. & Cauffmna, E. (March, 2010). Youth- and parent-report of maturity and future
   delinquency. Paper presented at the biennial meeting of the Society for Research on Adolescence,
   Philadelphia, PA.

Boessen, A., Hipp, J., Cauffman, E., Fagan, J. & Steinberg, L. (November, 2009). Youth transition and
   neighborhood effects: Residential instability among serious adolescent offenders. Paper presented at
   the annual meeting of the American Society of Criminology, Philadelphia, PA.

Kimonis, E.R., Cauffman, E., & Goldweber, A. (April, 2009). Emotional deficits in youth with callous-
   unemotional traits: Consistency across ethnicity and gender? Paper presented at the Society for the
   Scientific Study of Psychopathy, New Orleans, LA.

Monahan, K., Goldweber, A., & Cauffman, A. (April, 2009). The impact of visitation on incarcerated
  youths' behavior and mental health. Paper presented at the biennial meeting of the Society for
  Research in Child Development, Denver, CO.

Malloy, L., Kaasa, S., & Cauffman, E. (April, 2009). Sexual abuse disclosure among incarcerated
   female adolescents. Paper presented at the biennial meeting of the Society for Research in Child
   Development, Denver, CO.

Monahan, K., Meyer, K., Goldweber, A., & Cauffman, E. (April, 2009). Anxiety and antisocial
  behavior: the moderating role of the peer group in adolescence and early adulthood. Paper presented
  at the biennial meeting of the Society for Research in Child Development, Denver, CO.

Cauffman, E. & Wakefield, S. (April, 2009). The transition to parenthood for juvenile offenders. Paper
   presented at the biennial meeting of the Society for Research in Child Development, Denver, CO.

Shulman, E., Cauffman, E., Fagan, J. & Piquero, A. (April, 2009). Callous-unemotional traits and moral
   disengagement: pathways out of offending. Paper presented at the biennial meeting of the Society for
   Research in Child Development, Denver, CO.

Bechtold, J., Goldweber, A., Boessen, A., & Cauffman, E. (April, 2009). Are youths tried as adults more
   violent than youths tried as juveniles? Poster presented at the biennial meeting of the Society for
   Research in Child Development, Denver, CO.

Meyer, K., Monahan, K., & Cauffman, E. (April, 2009). The role of callous-unemotional traits in
   differentiating among serious female offenders. Poster presented at the biennial meeting of the
   Society for Research in Child Development, Denver, CO.

Cauffman, E., Kimonis, E., Dmitrieva, J. & Monahan, K. (March, 2009). A multi-method assessment of
   juvenile psychopathy: comparing the predictive utility of the PCL:YV, YPI, and NEO-PRI. Paper
   presented at the annual meeting of the American Psychology – Law Society, San Antonio, TX.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5          Filed 12/23/24       Page 69 of 76
                                            PageID.683                                        E. Cauffman
                                                                                                  Page 46



Tatar, J., Kimonis, E., Kennealy, P., Skeem, J., & Cauffman, E. (March, 2009). Victimization history
    and PTSD: An analysis of psychopathic subtypes. Paper presented at the annual meeting of the
    American Psychology – Law Society, San Antonio, TX.

Kimonis, E., Cauffman, E., & Goldweber, A. (March, 2009). Emotional processing in primary and
   secondary subtypes of psychopathy. Paper presented at the annual meeting of the American
   Psychology – Law Society, San Antonio, TX.

Shulman, E., Boessen, A., Bechtold, J., & Cauffman, E. (March, 2009). The iatrogenic effects of
   incarceration for first-time juvenile offenders. Paper presented at the annual meeting of the American
   Psychology – Law Society, San Antonio, TX.

Kaasa, S., Tatar, J., & Cauffman, E. (March, 2009). The impact of waiver to adult court on youths’
   perceptions of procedural justice. Paper presented at the annual meeting of the American Psychology
   – Law Society, San Antonio, TX.

Monahan, K. & Cauffman, E. (March, 2009). Sex differences in mental health and antisocial behavior.
  Paper presented at the annual meeting of the American Psychology – Law Society, San Antonio, TX.

Monahan, K., Steinberg, L., & Cauffman, E. (March, 2009). Age differences in peer selection, peer
  socialization, and offending: the role of resistance to peer influence. Paper presented at the annual
  meeting of the American Psychology – Law Society, San Antonio, TX.

Chung, H., Leistico, A., & Cauffman, E. (March, 2009). Trajectories of expectations for success and
   incarceration among serious juvenile offenders. Paper presented at the annual meeting of the
   American Psychology – Law Society, San Antonio, TX.

Kaasa, S., Tatar, J., & Cauffman, E. (March, 2009). Perceptions of procedural justice among female
   offenders: time does not heal all wounds. Paper presented at the annual meeting of the American
   Psychology – Law Society, San Antonio, TX.

Goldweber, A., Kelly, E., Monahan, K. & Cauffman, E. (March, 2009). The impact of perceived facility
   safety and staff support on adjustment to incarceration. Paper presented at the annual meeting of the
   American Psychology – Law Society, San Antonio, TX.

Wakefield, S. & Cauffman, E. (November, 2008). The transition to parenthood for juvenile criminal
  offenders. Paper presented at the annual meeting of the American Society of Criminology, St. Louis,
  MO.

Goldweber, A. & Cauffman, E. (November, 2008). The social networks of girls. Paper presented at the
   annual meeting of the American Society of Criminology, St. Louis, MO.

Chassin, L., Dmitrieva, J., Knight, G., Modecki, K., Cauffman, E., Steinberg, L., & Losoya, S. (July,
   2008). Does adolescent alcohol and marijuana use suppress growth in psychosocial maturity?
   Presented at the annual meeting of the Research Society on Alcoholism, Washington, DC.

Jones, S. & Cauffman, E. (March, 2008). Juvenile psychopathy and judicial decision-making. Paper
    presented at the annual meeting of the American Psychology – Law Society, Jacksonville, FL.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5         Filed 12/23/24       Page 70 of 76
                                            PageID.684                                        E. Cauffman
                                                                                                  Page 47


Malloy, L., Kaasa, S., & Cauffman, E. (March, 2008). False confessions among serious juvenile
   offenders. Paper presented at the annual meeting of the American Psychology – Law Society,
   Jacksonville, FL.

Kaasa, S., Malloy, L., & Cauffman, E. (March, 2008). Procedural justice and the adolescent offender.
   Paper presented at the annual meeting of the American Psychology – Law Society, Jacksonville, FL.

Maslowsky, J., Keating, D., Banich, M., Caufffman, E., Steinberg, L., & Woolard, J. (March, 2008).
   Reasoned versus reactive risk taking: Unique contributions of impulsivity and risk assessment to
   adolescent risk behavior. Poster presented at the Society for Research on Adolescence, Chicago, IL.

Monahan, K., Steinberg, L., Mulvey, E., & Cauffman, E. (March, 2008). Trajectories of offending
  among serious adolescent offenders. Paper presented at the biennial meeting of the Society for
  Research on Adolescence, Chicago, IL.

Meyer, K., Goldweber, A., & Cauffman, E. (March, 2008). Female offenders’ interpersonal
   relationships: Friends or foes while incarcerated. Poster presented at the biennial meeting of the
   Society for Research on Adolescence, Chicago, IL.

Goldweber, A., Shulman, E., & Cauffman, E. (March, 2008). Adjustment to incarceration: Changes in
   mental health in a sample of serious adolescent offenders. Paper presented at the biennial meeting of
   the Society for Research on Adolescence, Chicago, IL.

Dmitrieva, J., Steinberg, L., & Cauffman, E. (March, 2008). Arrested development: The effects of
  incarceration experiences on adolescents’ development of psychosocial maturity. Paper presented at
  the biennial meeting of the Society for Research on Adolescence, Chicago, IL.

Shulman, E., Cauffman, E., Piquero, A., Fagan, J. (March, 2008). Rationalization of wrong-doing:
   Developmental trajectories of moral thinking and their correlates in adolescent offenders. Poster
   presented at the biennial meeting of the Society for Research on Adolescence, Chicago, IL.

Dmitrieva, J., Farruggia, S., Cauffman, E., & Steinberg, L. (March, 2008). A VIP in need is a VIP
  indeed: The role of very important caring adults in adjustment of juvenile offenders. Paper presented
  at the biennial meeting of the Society for Research on Adolescence, Chicago, IL.

Cauffman, E., Shulman, E., Claus, E., Banich, M., Graham, S., Woolard, J., & Steinberg, L. (March,
   2008). Responding to reward versus punishment: How adolescents differ from adults in
   performance on the Iowa Gambling Task. Paper presented at the biennial meeting of the Society for
   Research on Adolescence, Chicago, IL.

Kimonis, E. & Cauffman, E. (April, 2007). Contextual and emotional risk factors for primary and
   secondary variants. Paper presented at the Society for the Scientific Study of Psychopathy, St. Pete,
   FL.

Belsky, J. Steinberg, L.D., Houts, R., Friedman, S.L., de Hart, G., Kaufmann, B., Roisman, G., Halpern-
    Felsher, B, Sussman, E. & The NICHD Early Child Care Research and Youth Development Research
    Network. (March, 2007). Rearing antecedents of pubertal timing. Paper presented at the biennial
    meeting of the Society for Research on Child Development, Boston, MA.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5         Filed 12/23/24       Page 71 of 76
                                            PageID.685                                       E. Cauffman
                                                                                                 Page 48


Malloy, L. & Cauffman, E. (March, 2007). The influence of peers on adjustment to incarceration. Paper
   presented at the biennial meeting of the Society for Research on Child Development, Boston, MA.

Goldweber, A., Cauffman, E., Steinberg, L. & Piquero, A. (March, 2007). Peer relationships and
   offending: What distinguishes group from solo offenders? Paper presented at the biennial meeting of
   the Society for Research on Child Development, Boston, MA.

Monahan, K., Steinberg, L. & Cauffman, E. (March, 2007). Peer groups and deviant behavior: The role
  of friendship quality and resistance to peer influence. Paper presented at the biennial meeting of the
  Society for Research on Child Development, Boston, MA.

Cohen, A. & Cauffman, E. (March, 2007). Incarceration during adolescence: The influence of anger
   and depression on institutional adjustment. Poster presented at the biennial meeting of the Society
   for Research on Child Development, Boston, MA.

Shulman, E. & Cauffman, E. (March, 2007). The experience of incarceration: How do juvenile
   offenders cope? Poster presented at the biennial meeting of the Society for Research on Child
   Development, Boston, MA.

Cauffman, E., Goldweber, A., Dmitrieva, J., Kaasa, S., Kelly, E., Malloy, L., & Shulman, E. (November,
   2006). Improving services for mentally ill juvenile offenders. Paper presented at the annual meeting
   of the American Society of Criminology, Los Angeles, CA.

Goldweber, A., Broidy, L. & Cauffman, E. (November, 2006). Interdisciplinary perspectives on
   persistent female offending: A review of theory and research. Paper presented at the annual meeting
   of the American Society of Criminology, Los Angeles, CA.

Cauffman, E. & Skeem, J. (March, 2006). Psychopathy. Paper presented at the annual meeting of the
   American Psychology – Law Society, St. Petersburg, FL.

Goldweber, A. & Cauffman, E. (March, 2006). Criminal style: What distinguishes group offenders from
   youths who commit crimes alone? Paper presented at the biennial meeting of the Society for
   Research on Adolescence, San Francisco, CA.

Cauffman, E. & Woolard, J. (March, 2006). Age differences in risk preference and risk evaluation.
   Paper presented at the biennial meeting of the Society for Research on Adolescence, San Francisco,
   CA.

Skeem, J. & Cauffman, E. (March, 2006). Primary and secondary variants of psychopathy-like juvenile
   offenders. Paper presented at the biennial meeting of the Society for Research on Adolescence, San
   Francisco, CA.

Dmitrieva, J. & Cauffman, E. (March, 2006). Stability and predictive validity of the Youth Psychopathic
  Traits Inventory. Paper presented at the biennial meeting of the Society for Research on
  Adolescence, San Francisco, CA.

Cauffman, E. & Skeem, J. (March, 2006). The downward extension of psychopathy. Paper presented at
   the biennial meeting of the Society for Research on Adolescence, San Francisco, CA.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5          Filed 12/23/24       Page 72 of 76
                                            PageID.686                                        E. Cauffman
                                                                                                  Page 49


Cauffman, E. & Odgers, C. (April, 2005). The unintended consequences of social policy on youth
   development. Paper presented at the biennial meeting of the Society for Research in Child
   Development, Atlanta, GA.

Cauffman, E. & Odgers, C. (March, 2005). Arrested development: Findings from the Pathways to
   Desistance study. Paper presented at the biennial meeting of the American Psychology-Law Society,
   La Jolla, CA.

Broidy, L. & Cauffman. E. (November, 2004). The Glueck girls: Contextual and personal pathways to
   change. Paper presented at the annual meeting of the American Society of Criminology, Nashville,
   TN.

Jones, S., Cauffman, E., & Piquero, A. (November, 2004). Parenting behavior among an incarcerated
    juvenile sample: The conditioning effects of self-control and consideration of others. Paper presented
    at the annual meeting of the American Society of Criminology, Nashville, TN.

Cauffman, E. (March, 2004). Psychosocial maturity and recidivism among adolescent offenders. Paper
   presented at the biennial meeting of the Society for Research on Adolescence, Baltimore, MD.

Cauffman, E. & Skeem, J. (March, 2004). Assessing juvenile psychopathy. Paper presented at the
   biennial meeting of the Society for Research on Adolescence, Baltimore, MD.

Cauffman, E., Schubert, C., & Steinberg, L. (March, 2004). Romantic relationships among serious
   adolescent offenders: Gender similarities and differences. Paper presented at the biennial meeting of
   the American Psychology-Law Society, Scottsdale, AZ.

Dickman, J., Cauffman, E., & Broidy, L. (March, 2004). “The girl problem”: Female sexuality as a
   social disease in the early 20th century. Paper presented at the biennial meeting of the American
   Psychology-Law Society, Scottsdale, AZ.

Cauffman, E., Piquero, A., Mulvey, E., Steinberg, L. (March, 2004). Predicting disposition among
   serious juvenile offenders: Who gets locked up? Paper presented at the biennial meeting of the
   American Psychology-Law Society, Scottsdale, AZ.

Cauffman, E. & Skeem, J. (March, 2004). The developmental (in)appropriateness of assessing juvenile
   psychopathy. Paper presented at the biennial meeting of the American Psychology-Law Society,
   Scottsdale, AZ.

Damon, N., Broidy, L. & Cauffman, E. (November, 2003). “The social evil”: Female prostitution
   during the Progressive Era. Paper presented at the annual meeting of the American Society of
   Criminology, Denver, CO.

Broidy, L. & Cauffman, E. (November, 2003). The Glueck girls: The importance of historical context
   for specifying the influence of social capital, social control, and individual agency on female
   offending trajectories. Paper presented at the annual meeting of the American Society of
   Criminology, Denver, CO.

Cauffman, E. (April, 2003). The psychological development of serious juvenile offenders: The
   MacArthur study of Pathways to Desistance. Paper presented at the biennial meeting of the Society
   for Research in Child Development, Tampa, FL.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5          Filed 12/23/24       Page 73 of 76
                                            PageID.687                                        E. Cauffman
                                                                                                  Page 50



Cauffman, E. (November, 2002). Developmental characteristics of serious adolescent offenders. Paper
   presented at the annual meeting of the American Society of Criminology, Chicago, IL.

Spahr, L., Cauffman, E., & Skeem, J. (November, 2002). Treatment and services usage among juvenile
   and adult offenders. Paper presented at the annual meeting of the American Society of Criminology,
   Chicago, IL.

Skeem, J. & Cauffman, E. (November, 2002). The psychometric characteristics and short-term stability
   of the PCL:YV and its relation to the Youth Psychopathic Inventory. Paper presented at the annual
   meeting of the American Society of Criminology, Chicago, IL.

Cauffman, E. & Skeem, J. (November, 2002). The relation between developmental maturity and
   measures of psychopathy: Initial findings from a cross-sequential study. Paper presented at the
   annual meeting of the American Society of Criminology, Chicago, IL.

Cauffman, E. (October, 2002). Development & diagnosis: Developmental considerations for mentally
   ill juvenile offenders. Paper presented as part of an Institute at the annual meeting of the American
   Academy of Child & Adolescent Psychiatry, San Francisco, CA.

Cauffman, E. (April, 2002). Understanding the female offender. Paper presented at the biennial meeting
   of the Society for Research on Adolescence, New Orleans, LA.

Cauffman, E. (April, 2002). Psychosocial underpinnings of competence to stand trial. Paper presented
   at the biennial meeting of the Society for Research on Adolescence, New Orleans, LA.

Cauffman, E. (March, 2002). The relation between developmental maturity and measures of
   psychopathy: Initial findings from a cross-sequential study. Paper presented at the biennial meeting
   of the American Psychology-Law Society, Austin, TX.

Cauffman, E. (March, 2002). Mental health issues among female offenders. Paper presented at the
   biennial meeting of the American Psychology-Law Society, Austin, TX.

Cauffman, E. (November, 2001). Delinquent girls: Developmental considerations and public policy
   implications. Paper presented at the annual meeting of the American Society of Criminology,
   Atlanta, GA.

Cauffman, E. (November, 2000). Detained vs. deep end juvenile offenders: Do they differ in mental
   health needs? Paper presented at the annual meeting of the American Society of Criminology, San
   Francisco, CA.

Cauffman, E. (October, 2000). Identifying youth at risk: The mental health of juvenile offenders. Paper
   presented at the annual meeting of American Academy of Child & Adolescent Psychiatry, New York,
   NY.

Espelage, D. L., Cauffman, E., Broidy, L., Mazerolle, P., & Piquero, A. (May, 2000). A cluster-analytic
   investigation of MMPI profiles of serious male and female juvenile offenders. Paper presented at the
   MMPI-2 Symposium, Minneapolis, MN.

Cauffman, E., Haapanen, R., Ingram, W. & Steiner, H. (April, 2000). Mental health and juvenile justice.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5         Filed 12/23/24       Page 74 of 76
                                            PageID.688                                       E. Cauffman
                                                                                                 Page 51


    Paper presented at the biennial meeting of the Society for Research on Adolescence, Chicago, IL.

Cauffman, E. (March, 2000). The predictive validity of the MAYSI among serious adolescent offenders.
   Paper presented at the biennial meeting of the American Psychology-Law Society, New Orleans, LA.

Broidy, L., Cauffman, E., Espelage, D., Mazerolle, P. & Piquero, A. (November, 1999). Empathy and
   sex differences in offending. Paper presented at the annual meeting of the American Society of
   Criminology, Toronto, Canada.

Cauffman, E., Happanen, R., Ingram, W., & Steiner, H. (November, 1999). Mental health and
   behavioral problems among serious juvenile offenders. Paper presented at the annual meeting of the
   American Society of Criminology, Toronto, Canada.

Cauffman, E. (July, 1999). Justice for juveniles: New perspectives on adolescents’ competence and
   culpability. Paper presented as a part of an invited symposium entitled “Youth on Trial” at the annual
   meeting of the European Psychology – Law Society, Dublin, Ireland.

Cauffman, E. (April, 1999). The costs and benefits of a decision: Similarities and differences between
   adolescents and adults in their decision-making ability. Paper presented at the biennial meeting of
   the Society for Research in Child Development, Albuquerque, NM.

Mazerolle, P., Cauffman, E., Piquero, A., Broidy, L., & Espelage, D. (March, 1999). Exposure to stress
   and conflict among high school aged youth: Do coping responses vary for males and females? Paper
   presented at the Academy of Criminal Justice Sciences, Orlando, FL.

Jensen, L. A., Arnett, J. J., Feldman, S. S., & Cauffman, E. (November, 1998). Academic dishonesty and
    lying to parents: Adolescent moral reasoning and behavior. Poster presented at the Conference for
    the Association for Moral Education, Hanover, NH.

Cauffman, E. (September, 1998). Adolescent decision making in legal contexts: Toward an expanded
   definition of adolescent competency. Paper presented at the Quinnipiac College School of Law,
   Hamden, CT.

Cauffman, E. (August, 1998). Developmental Psychology goes to court. Paper presented at the annual
   meeting of the American Psychological Association, San Francisco, CA.

Cauffman, E. (June, 1998). (Im)maturity of judgment: Adolescent development and juvenile culpability.
   Paper presented at the biennial meeting of the Law and Society Association, Aspen, CO.

Cauffman, E. (March, 1998). Competence and culpability: Juveniles in the justice system. Paper
   presented at the biennial meeting of the American Psychology-Law Society, San Diego, CA.

Cauffman, E. (February, 1998). Maturity of judgment and mental health differences between
   incarcerated and non-incarcerated youth. Paper presented at the biennial meeting of the Society for
   Research on Adolescence, San Diego, CA.

Cauffman, E. (November, 1997). An interdisciplinary approach to understanding juvenile delinquency;
   A developmental view. Paper presented at the annual meeting of the American Society of
   Criminology, San Diego, CA.
  Case 1:24-cv-00496-JAO-WRP               Document 35-5          Filed 12/23/24       Page 75 of 76
                                            PageID.689                                        E. Cauffman
                                                                                                  Page 52


Cauffman, E., Waterman, J., Feldman, S. S., Behshid, S., & Steiner, H. (October, 1997). Posttraumatic
   Stress Disorder in incarcerated youth. Poster presented at the annual meeting of the American
   Academy of Child & Adolescent Psychiatry, Toronto, Canada.

Cauffman, E. (April, 1997). Maturity of judgment: Psychosocial factors in adolescent decision making.
   Paper presented at the biennial meeting of the Society for Research in Child Development,
   Washington, DC.

Steinberg, L. & Cauffman, E. (September, 1995). Finding the balance: What should autonomy rights
    mean for children and youth? Paper presented at the Juvenile Law Center, Temple University,
    Philadelphia, PA.

Cauffman, E. (March, 1995). Sibling similarity in peer crowd membership and perceived parenting
   practices in adolescence. Poster presented at the biennial meeting of the Society for Research in
   Child Development, Indianapolis, IN.

Cauffman, E. & Steinberg, L. (March, 1995). Moderating effects of neighborhood parenting on family
   socialization processes. Paper presented at the biennial meeting of the Society for Research in Child
   Development, Indianapolis, IN.

Cauffman, E. (February, 1994). The effects of puberty, dating, and physical intimacy on dieting and
   disordered eating in young adolescent girls. Poster presented at the fifth biennial meeting of the
   Society for Research on Adolescence, San Diego, CA.

Eder, R., Harkins, K., Cauffman, E., & Patel, A. (August, 1992). Self-presentation, self-control, and
   young children's spontaneous and deliberate expressive behaviors. Poster presented at the annual
   meeting of the American Psychological Association, Washington, D.C.


TEACHING EXPERIENCE

Adolescent Development                                Children & the Law
Legal & Forensic Psychology                           Psychological Assessment
Statistics                                            Developmental Psychology
Research Methods                                      Child Psychopathology

PROFESSIONAL MEMBERSHIPS

American Psychological Association
American Psychology – Law Society
American Society of Criminology
Association for Psychological Science (Elected Fellow in 2015)
Society for Research on Adolescence

PROFESSIONAL MEETING REVIEWS
   2016 Review Panel Member, Society for Research in Child Development.
   2012 Panel Chair, Review Panel on Adolescence: Emotional Processes & Personality. Society
         for Research in Child Development.
   2011 Review Panel Member, Society for Research on Adolescence.
   2010 Review Panel Member, Society for Research in Child Development.
 Case 1:24-cv-00496-JAO-WRP              Document 35-5        Filed 12/23/24      Page 76 of 76
                                          PageID.690                                    E. Cauffman
                                                                                            Page 53


    2009    Review Panel Member, Society for Research on Adolescence.
    2008    Review Panel Member, Society for Research in Child Development.
    2007    Review Panel Member, Society for Research on Adolescence.
    2006    Review Panel Member, Society for Research in Child Development.
    2005    Panel Chair, Review Panel on Applied Research, Program Evaluation, and Public Policy.
            Society for Research on Adolescence.
    2001    Panel Chair, Review Panel on Emerging Issues, Society for Research on Adolescence.

AD HOC REVIEWER

Behavioral Sciences & the Law (Editorial Board: 2017 – present)
Child Development
Criminology
Developmental Psychology
Journal of the American Academy of Child & Adolescent Psychiatry
Journal of Consulting and Clinical Psychology
Journal of Developmental and Life Course Criminology (Editorial Board: 2014-present)
Journal of Early Adolescence
Journal of Research on Adolescence
Journal of Youth and Adolescence (Editorial Board: 2004-present)
Law & Human Behavior
Psychological Assessment
Psychology, Public Policy, and Law (Editorial Board: 2012 – present)
Research in Crime & Delinquency
